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                        UNITED STATES DISTRICT COURT 
               WESTERN DISTRICT OF MICHIGAN - SOUTHERN DIVISION

JANE UMSU DOE, JANE VMSU DOE, by next
friend JANE VMSUV DOE, JANE WMSU DOE,
and JANE XMSU DOE, by next friend JOHN           Case No.: 1:17-cv-00288
XMSU DOE,
                                                 Hon. ___________________
                    Plaintiffs,
                                                 Complaint and Jury Demand
v
                                                 A civil action between these parties or
MICHIGAN STATE UNIVERSITY; THE                   other parties arising out of the
BOARD OF TRUSTEES OF MICHIGAN                    transaction or occurrence alleged in
STATE UNIVERSITY; LAWRENCE GERARD                this complaint has been previously
NASSAR (individual and official capacity);       filed in this court, where it was given
KATHIE KLAGES (individual and official           docket numbers 1:17-cv-29 and 1:17-
capacity); WILLIAM D. STRAMPEL, D.O.             cv-222 and was assigned to Judge
(individual and official capacity); JEFFREY R.   Quist. Those actions remain pending.
KOVAN D.O. (individual and official capacity);   A motion to consolidate will be filed
GARY E. STOLLAK (individual and official         concurrently or shortly hereafter.
capacity); USA GYMNASTICS, INC.; TWISTARS
USA, INC. d/b/a GEDDERTS’ TWISTARS
GYMNASTICS CLUB USA, and JOHN
GEDDERT

                    Defendants.




______________________________________________________________________________

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                                  COMPLAINT AND JURY DEMAND

        NOW COME Plaintiffs, by and through their attorneys CHURCHWYBLE, P.C., a division

of GREWAL LAW, PLLC, and hereby allege and state as follows:

                      I. PRELIMINARY STATEMENT AND INTRODUCTION

1.      This is a civil action for declaratory, injunctive, equitable, and monetary relief for injuries

        sustained by Plaintiffs as a result of the acts, conduct, and omissions of Lawrence Nassar,

        D.O., Michigan State University (“MSU”), USA Gymnastics (“USAG”), and Twistars

        USA, Inc. (“Twistars”) and their respective employees, representatives, and agents,

        relating to sexual assault, abuse, molestation, and nonconsensual sexual touching and

        harassment by Defendant Nassar against Plaintiffs, all female, many of whom were minors

        when the sexual assaults took place.

2.      Plaintiffs are or were young athletes participating in youth sports, including gymnastics,

        swimming and dancing.

3.      Defendant Nassar came highly recommended to Plaintiffs as a renowned orthopedic sports

        medicine physician, purportedly well-respected in the sports medicine community,

        specifically in the gymnastics community as the Team Physician for the United States

        Gymnastics team.

4.      Plaintiffs and their parents had no reason to suspect Defendant Nassar was anything other

        than a competent and ethical physician.

5.      From approximately 1996 to 2016 Defendant Nassar worked for Michigan State University

        in various positions and capacities.

6.      From 1986 to approximately 2015 Defendant Nassar also worked for USA Gymnastics in

        various positions and capacities.



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7.      For over 20 years, Defendant Nassar had unfettered access to young female athletes

        through the Sports Medicine Clinic at MSU, and through his involvement with USAG and

        Twistars, who referred athletes to his care.

8.      To gain Plaintiffs’ trust, at appointments, Defendant Nassar would give some Plaintiffs

        gifts such as t-shirts, pins, flags, leotards, and other items, some with USAG logos and

        others without.

9.      Between 1996 and 2016, under the guise of treatment, Defendant Nassar sexually

        assaulted, abused, and molested Plaintiffs, many of whom were minors during at least some

        portion of this time, by nonconsensual vaginal and anal digital penetration or by rubbing

        their breasts, and without the use of gloves or lubricant.

10.     Plaintiffs were seeking treatment for various pain and functional complaints, such as back

        pain, neck pain, shoulder pain, knee pain, hip pain, and other similar injuries and

        conditions.

11.     In 1997 or 1998, an athlete reported to MSU gymnastics coach Kathie Klages concerns

        regarding Defendant Nassar’s conduct and “treatment,” but Defendant Klages dissuaded

        the athlete from completing a formal report by warning the athlete the report would have

        serious consequences for her (the athlete) and Nassar.

12.     As a result of Defendant Klages being informed about Nassar’s conduct, at least one other

        athlete was asked by Klages if Nassar had performed the “procedure” involving digital

        vaginal and anal penetration on her (the athlete), and the athlete responded in the

        affirmative. Defendant Klages told the athlete that there is no reason to bring up Nassar’s

        conduct.




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13.    In 1999, a MSU student athlete reported to trainers and her coach who were employees of

       MSU concerns about Defendant Nassar’s conduct and “treatment,” yet MSU failed to take

       any action in response to her complaints.

14.    In 2000, another MSU student athlete reported to trainers concerns about Defendant

       Nassar’s conduct and “treatment,” yet again MSU failed to take any action in response to

       her complaints.

15.    Many Plaintiffs were seen alone with only the individual Plaintiff and Defendant Nassar in

       the room, without chaperones.

16.    At other times, Defendant Nassar would position himself in a manner in which parents or

       chaperones in the room could not see his conduct.

17.    Because MSU took no action to investigate the 1997 or 1998, 1999, and 2000 complaints

       and took no corrective action, from 2000 to 2016, under the guise of treatment, several of

       the Plaintiffs were sexually assaulted, abused, and molested by Defendant Nassar by

       nonconsensual vaginal and anal digital penetration, nonconsensual sexual touching of the

       vaginal area without the use of gloves or lubricant and by nonconsensual touching and

       groping of their breasts.

18.    Additional complaints regarding Defendant Nassar’s conduct surfaced in 2014. A victim

       reported she had an appointment with Defendant Nassar to address hip pain and was

       sexually abused and molested by Defendant Nassar when he cupped her buttocks,

       massaged her breast and vaginal area, and became sexually aroused.1




1
 See, At MSU: Assault, harassment and secrecy. Matt Mencarini, December 15, 2016. Available
at, http://www.lansingstatejournal.com/story/news/local/2016/12/15/michigan-state-sexual-
assault-harassment-larry-nassar/94993582/. (Last accessed January 5, 2017.)
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19.       Upon information and belief, Defendant MSU investigated the 2014 complaints through

          their Office of Institutional Equity, and although the victim reported to Defendant MSU

          certain facts, some were omitted from the investigative report including but not limited to

          the following:

                 a. Defendant Nassar was sexually aroused while touching her;

                 b. The appointment with Defendant Nassar did not end until she physically removed

                           his hands from her body.

20.       Three months after initiating the investigation, in July 2014, the victim’s complaints were

          dismissed and Defendant MSU determined she didn’t understand the “nuanced difference”

          between sexual assault and an appropriate medical procedure and deemed Defendant

          Nassar’s conduct “medically appropriate” and “Not of a sexual nature.”2

21.       Following the investigation, upon information and belief Defendant Nassar became subject

          to new institutional guidelines, one of which – it is believed – was that Defendant Nassar

          was not to examine or treat patients alone.3

22.       Defendant Nassar continued to treat patients alone.

23.       Following the investigation, between approximately 2014 and 2016, additional girls and

          young women were sexually assaulted by Defendant Nassar.

24.       Through his position with MSU, his notoriety, and support by USAG and Twistars,

          Defendant Nassar used his position of authority as a medical professional to abuse

          Plaintiffs without any reasonable supervision by MSU or USAG.




2
    Id.
3
    Id.
                                                      8
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25.   Defendant Nassar carried out these acts without fully explaining the “treatment” or

      obtaining consent of Plaintiffs or their parents.

26.   All of Defendant Nassar’s acts were conducted under the guise of providing medical care

      at his office at Michigan State University or at Twistars.

27.   The failure to give proper notice or to obtain consent for the purported “treatment” from

      Plaintiffs or their parents robbed them of the opportunity to reject the “treatment.”

28.   Defendant Nassar used his position of trust and confidence in an abusive manner causing

      Plaintiffs to suffer a variety of injuries including shock, humiliation, emotional distress and

      related physical manifestations thereof, embarrassment, loss of self-esteem, disgrace, and

      loss of enjoyment of life.

29.   In September 2016, a story was published regarding a complaint filed with Defendant

      MSU’s Police Department titled “Former USA Gymnastics doctor accused of Abuse,”

      which included Rachel Denhollander’s allegations against Defendant Nassar.

30.   Following the September 2016 publication, other victims began coming forward after

      recognizing that they were victims of sexual abuse at a time when most of them were

      minors.

31.   Plaintiffs have been forced to relive the trauma of the sexual assaults.

32.   In summer 2015, USAG relieved Defendant Nassar of his duties after becoming aware of

      concerns about his actions, yet USAG failed to inform Michigan State University of the

      circumstances regarding his dismissal.

33.   As early as 1997, representatives of Michigan State University were made aware of

      Defendant Nassar’s conduct, yet failed to appropriately respond to allegations, resulting in

      the sexual assault, abuse, and molestation of Plaintiffs through approximately 2016.



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34.      Michigan State University’s deliberate indifference before, during, and after the sexual

         assault, abuse, and molestation of Plaintiffs was in violation of Title IX of the Education

         Amendments of 1972, 20 U.S.C. §1681 et seq., 42 U.S. C. §1983, as well as other Federal

         and State laws.

35.      MSU and USAG’s failure to properly supervise Defendant Nassar and their negligence in

         retaining Defendant Nassar was in violation of Michigan common law.

36.      In late November 2016, Defendant Nassar was arrested and charged in Ingham County,

         Michigan on three charges of first-degree criminal sexual conduct with a person under 13.4

         The case has been bound over to circuit court. Twenty-two additional counts were recently

         added.

37.      In mid-December 2016, Defendant Nassar was indicted, arrested, and charged in Federal

         Court in Grand Rapids, Michigan on charges of possession of child pornography and

         receipt/attempted receipt of child pornography.

38.      The acts, conduct, and omissions of Defendants Michigan State University, USA

         Gymnastics, and Twistars, and their policies, customs, and practices with respect to

         investigating sexual assault allegations severely compromised the safety and health of

         Plaintiffs and an unknown number of individuals, and have resulted in repeated instances

         of sexual assault, abuse, and molestation of Plaintiffs by Defendant Nassar, which has been

         devastating for Plaintiffs and their families.

39.      This action arises from Defendants’ blatant disregard for Plaintiffs’ federal and state rights,

         and Defendants’ deliberately indifferent and unreasonable response to physician-on-

         patient/physician-on-student sexual assault, abuse, and molestation.



4
    State of Michigan, Ingham County Circuit Court Case No. 1603031.
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                              II. JURISDICTION AND VENUE

40.   This action is brought pursuant to Title IX of the Educational Amendments of 1972, 20

      U.S.C. §1681, et seq., as more fully set forth herein.

41.   This is also an action to redress the deprivation of Plaintiffs’ constitutional rights under the

      Fourteenth Amendment of the United States Constitution pursuant to 42 U.S.C. §1983.

42.   Subject matter jurisdiction is founded upon 28 U.S.C. §1331 which gives district courts

      jurisdiction over all civil actions arising under the Constitution, laws, and treaties of the

      United States.

43.   Subject matter jurisdiction is also founded upon 28 U.S.C. §1343 which gives district

      courts original jurisdiction over any civil actions authorized by law to be brought by any

      person to redress the deprivation, under color of any State Law, statute, ordinance,

      regulation, custom or usage, of any right, privilege or immunity secured by the Constitution

      of the United States or by any Act of Congress providing for equal rights of citizens or of

      all persons within the jurisdiction of the United States, and any civil action to recover

      damages or to secure equitable relief under any Act of Congress providing for the

      protection of civil rights.

44.   Plaintiffs further invoke the supplemental jurisdiction of this Court, pursuant to 28 U.S.C.

      § 1367(a) to hear and decide claims arising under state law that are so related to the claims

      within the original jurisdiction of this Court that they form part of the same case or

      controversy.

45.   The claims are cognizable under the United States Constitution, 42 U.S.C. §1983, 20

      U.S.C. §1681 et seq., and under Michigan Law.




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46.      The events giving rise to this lawsuit occurred in Ingham County, Michigan which sits in

         the Southern Division of the Western District of Michigan.

47.      Venue is proper in the United States District Court for the Western District of Michigan,

         pursuant to 28 U.S.C. § 1391 (b)(2), in that this is the judicial district in which the events

         giving rise to the claim occurred.

                            III. PARTIES AND KEY INDIVIDUALS

48.      Plaintiffs reallege and incorporate by reference the allegations contained in the previous

         paragraphs.

49.      The names of the Plaintiffs have been withheld from this Complaint to protect their

         identities as many of the Plaintiffs were minor children at the time the sexual abuse

         occurred and the allegations involve injuries of a personal and sensitive nature.5

50.      Plaintiff Jane UMSU Doe is an adult female and is a resident of Florida. She was a minor

         for at least a portion of the time she was sexually assaulted, abused, and molested by

         Defendant Nassar

51.      Plaintiff Jane VMSU Doe is a minor female and is a resident of Michigan. She brings this

         action by Jane VMSUV Doe, also a resident of Michigan. A corresponding petition

         seeking formal appointment of next friend will be filed.

52.      Plaintiff Jane WMSU Doe is an adult female and is a resident of Colorado. She was a

         minor for at least a portion of the time she was sexually assaulted, abused, and molested

         by Defendant Nassar.




5
 Plaintiffs will seek an Order of the Court regarding disclosure of Plaintiffs’ identities and all
conditions for disclosure.
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53.   Plaintiff Jane XMSU Doe is a minor female and is a resident of Michigan. She brings this

      action by John XMSU Doe, also a resident of Michigan. A corresponding petition seeking

      formal appointment of next friend will be filed.

54.   Defendant Lawrence “Larry” Nassar, is a Doctor of Osteopathic Medicine, and is a resident

      of Michigan.

55.   Defendant Michigan State University (hereinafter, “Defendant MSU”) was at all relevant

      times and continues to be a public university organized and existing under the laws of the

      state of Michigan.

56.   Defendant Michigan State University receives federal financial assistance and is therefore

      subject to Title IX of the Educational Amendments of 1972, 20 U.S.C. §1681(a).

57.   Defendant The Board of Trustees of Michigan State University (hereinafter, “Defendant

      MSU Trustees”) is the governing body for Michigan State University.

58.   Defendant MSU and Defendant MSU Trustees are hereinafter collectively referred to as

      the MSU Defendants.

59.   Lou Anna K. Simon is the current President of Defendant MSU, appointed in

      approximately January 2005. Prior to her appointment as President, Ms. Simon held several

      administrative roles including assistant provost for general academic administration,

      associate provost, and provost and vice president for academic affairs during her career

      with MSU.

60.   M. Peter McPherson is the immediate Past President of Defendant MSU, and served as

      President from approximately 1993 – 2004.




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61.   Defendant William D. Strampel, D.O. is the Dean of the College of Osteopathic Medicine

      at Michigan State University serving as Dean since approximately April 2002 and as

      Acting Dean between December 2001 and April 2002.

62.   Defendant Jeffrey R. Kovan, D.O. is or was the Director of Division of Sports Medicine at

      Michigan State University.

63.   Defendant Kathie Klages was the head coach of the Michigan State University Gymnastics

      Program until her suspension and resignation in early 2017; she also conducted gymnastics

      classes and programs for children and young adults not on the varsity gymnastics team.

64.   Defendant Gary E. Stollak was a professor in the clinical program within the Michigan

      State University Department of Psychology.

65.   Defendant United States of America Gymnastics (hereinafter “Defendant USAG”) was and

      continues to be an organization incorporated in Indiana, authorized to conduct business and

      conducting business throughout the United States, including but not limited to Michigan.

66.   Steve Penny is the current president of Defendant USAG, named in approximately April

      2005, who is currently responsible for the overall management and strategic planning of

      Defendant USAG.

67.   Robert Colarossi is the past president of Defendant USAG and held the position from

      approximately 1998 to 2005, and during that time was responsible for the overall

      management and strategic planning of Defendant USAG.

68.   Defendant Twistars USA, Inc. d/b/a Geddert’s Twistars Gymnastics Club USA

      (hereinafter, “Defendant Twistars”) was and continues to be an organization incorporated

      in Michigan.




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69.   Defendant John Geddert is the owner and operator of Twistars USA, Inc. d/b/a Geddert’s

      Twistars Gymnastics Club USA.

                        IV. COMMON FACTUAL ALLEGATIONS

70.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

      paragraphs.

71.   At all relevant times, Defendant Nassar maintained an office at MSU in East Lansing,

      Michigan.

72.   At all relevant times, Defendants MSU, MSU Trustees, and Nassar were acting under color

      of law, to wit, under color of statutes, ordinances, regulations, policies, customs, and usages

      of the State of Michigan and/or Defendant Michigan State University.

73.   At all relevant times, including the years 1996 to 2016, Defendant Nassar was acting in the

      scope of his employment or agency with Defendant MSU.

74.   At all relevant times, including the years 1996 to 2015, Defendant Nassar was acting in the

      scope of his employment or agency with Defendant USAG.

75.   At all relevant times, including the years 1996 to 2016, Defendant Nassar was acting in the

      scope of his agency with Defendant Twistars.

76.   Defendant Nassar graduated from Michigan State University with a Doctor of Osteopathic

      Medicine degree in approximately 1993.

77.   Defendant Nassar was employed by and/or an agent of Defendant USAG from

      approximately 1986 to 2015, serving in various positions including but not limited to:

             a. Certified Athletic Trainer;

             b. Osteopathic Physician;

             c. National Medical Director;



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              d. National Team Physician, USA Gymnastics;

              e. National Team Physician, USA Gymnastics Women’s Artistic Gymnastics

                     National Team.

78.   Defendant Nassar was employed by Defendant MSU from approximately 1996 to 2016 in

      various positions including but not limited to:

              a. Associate Professor, Defendant MSU’s Division of Sports Medicine, Department

                     of Radiology, College of Osteopathic Medicine;

              b. Team Physician, Defendant MSU’s Men’s and Women’s Gymnastics Team;

              c. Team Physician, Defendant MSU’s Men’s and Women’s Track and Field Teams;

              d. Team Physician, Defendant MSU’s Men’s and Women’s Crew Team;

              e. Team Physician, Defendant MSU’s Intercollegiate Athletics;

              f. Medical Consultant, Defendant MSU’s Wharton Center for the Performing Arts;

              g. Advisor, Student Osteopathic Association of Sports Medicine.

79.   Defendant Twistars is a gymnastics facility with which Defendant Nassar affiliated from

      its inception in or around 1996.

80.   Defendant John Geddert, owner and operator of Twistars USA, Inc. d/b/a Geddert’s

      Twistars Gymnastics Club USA served as the USA World and Olympic Women’s

      Gymnastics Team Head Coach.

81.   Defendant Geddert regularly recommended Defendant Nassar to members of Defendant

      Twistars as a reputable physician.

82.   For a period of time, Defendant Twistars displayed a photo of Defendant Nassar at its

      facility.




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83.      As an agent of Defendant Twistars, Defendant Nassar regularly provided services and

         treatment to Defendant Twistars’ members and Defendant USAG’s members on Defendant

         Twistars’ premises.

84.      As a physician of Osteopathic Medicine, Defendant Nassar’s medical care and treatment

         should have consisted largely of osteopathic adjustments and kinesiology treatment to

         patients, including students and student-athletes of Defendant MSU.

85.      Defendant Nassar is not and has never been a medical doctor of obstetrics or gynecology.

86.      While employed by Defendants MSU and USAG, Defendant Nassar practiced medicine at

         Defendant MSU’s Sports Medicine Clinic, a facility at MSU.

87.      During his employment, agency, and representation with the MSU Defendants, Defendant

         USAG, and Defendant Twistars, Defendant Nassar sexually assaulted, abused, and

         molested Plaintiffs by engaging in nonconsensual sexual touching, assault, and harassment

         including but not limited to digital vaginal and anal penetration.

88.      The State of Michigan’s Department of Licensing and Regulatory Affairs Occupational

         Health Standards regarding Bloodborne Infectious Diseases mandates use of gloves when

         exposed to potentially infectious material, including vaginal secretions.6

89.      In 1997 or 1998, a female gymnastics participant, who was a minor at the time, told MSU

         gymnastics head coach Kathie Klages about concerns the participant had with Nassar’s

         “treatment.” Defendant Klages convinced the participant not to file a formal complaint

         because Klages intimidated the participant by stating there would be serious consequences

         to her (the participant) and Nassar.



6
 See, Michigan Administrative Code, R. 325.70001, et seq., Available at
http://www.michigan.gov/documents/CIS_WSH_part554_35632_7.pdf. Last accessed, January
5, 2017.
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90.   As a result of Klages being informed about Nassar’s conduct, at least one other athlete was

      asked by Klages if Nassar had performed the “procedure” involving digital vaginal and

      anal penetration on her (the athlete), and the athlete responded in the affirmative. Klages

      told the athlete that there is no reason to bring up Nassar’s conduct.

91.   In or around 1998, a parent of a gymnast at Defendant Twistars’ facility complained to

      Defendant Geddert regarding Dr. Nassar’s conduct, yet the concerns and allegations went

      unaddressed.

92.   In or around 1999 the MSU Defendants were also put on notice of Defendant Nassar’s

      conduct by a MSU student athlete after she complained to MSU employees, including

      trainers and her head coach, that Defendant Nassar touched her vaginal area although she

      was seeking treatment for an injured hamstring.

93.   Despite her complaints to MSU representatives, the athlete’s concerns and allegations went

      unaddressed.

94.   In approximately 2000, a female student athlete, a member of Defendant MSU’s Women’s

      Softball Team, was sexually assaulted and abused during “treatment” by Defendant Nassar

      and reported Defendant Nassar’s conduct to Defendant MSU’s employees, including

      trainers.

95.   Despite her complaints to MSU employees, agents, and representatives, the athlete’s

      concerns and allegations went unaddressed in violation of reporting policies and

      procedures and Title IX and in a manner that was reckless, deliberately indifferent, and

      grossly negligent.

96.   Because MSU took no action to investigate the 1997 or 1998, 1999, and 2000 complaints

      and took no corrective action, from 2000 to 2016, under the guise of treatment, several



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         Plaintiffs were also sexually assaulted, abused, and molested by Defendant Nassar by

         vaginal and anal digital penetration, without the use of gloves or lubricant and by touching

         and groping their breasts.

97.      Upon information and belief, Defendant Gary E. Stollak was told by a minor female patient

         that she had been abused by Defendant Nassar.

98.      Defendant Stollak did not report the abuse.

99.      In 2014, following receipt of an unrelated complaint regarding a sexual assault on

         Defendant MSU’s campus, between 2014 and 2015 the U.S. Department of Education’s

         Office of Civil Rights (hereinafter “OCR”) conducted an investigation regarding the

         complainant’s allegations, another complaint regarding sexual assault and retaliation from

         2011, and Defendant MSU’s response to said complaints, and their general policies,

         practices, and customs pertaining to their responsibilities under Title IX.7

100.     The OCR concluded their investigation in 2015 and presented Defendant MSU with a

         twenty-one page agreement containing measures and requirements to resolve the 2011 and

         2014 complaints and to bring Defendant MSU in compliance with Title IX.8

101.     While the OCR was conducting their investigation, additional complaints regarding

         Defendant Nassar’s conduct surfaced in 2014. The victim reported she had an appointment

         with Defendant Nassar to address hip pain and was sexually abused and molested by




7
  See, Letter from U.S. Department of Education Office for Civil Rights to Michigan State
University, September 1, 2015, OCR Docket #15-11-2098, #15-14-2113. Available at
https://www2.ed.gov/documents/press-releases/michigan-state-letter.pdf, last accessed January 4,
2017.
8
  See, Resolution Agreement, August 28, 2015, OCR Document #15-11-2098, #15-14-2133.
Available at, https://www2.ed.gov/documents/press-releases/michigan-state-agreement.pdf. Last
accessed January 5, 2017.
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         Defendant Nassar when he cupped her buttocks, massaged her breast and vaginal area, and

         he became sexually aroused.9

102.     Upon information and belief, Defendant MSU investigated the 2014 complaints through

         their Office of Institutional Equity.

103.     However, the victim reported to Defendant MSU facts which were omitted or withheld

         from the investigative report including but not limited to the following

                a. Defendant Nassar was sexually aroused while touching her;

                b. The appointment with Defendant Nassar did not end until she physically removed

                        his hands from her body.

104.     Three months after initiating the investigation, in July 2014, the victim’s complaints were

         dismissed and Defendant MSU determined she didn’t understand the “nuanced difference”

         between sexual assault and an appropriate medical procedure and deemed Defendant

         Nassar’s conduct “medically appropriate” and “Not of a sexual nature.”10

105.     Following the investigation, upon information and belief, Defendant Nassar became

         subject to new institutional guidelines, one of which – it is believed – was that Defendant

         Nassar was not to examine or treat patients alone.11

106.     After receiving allegations of “athlete concerns,” in approximately summer 2015

         Defendant USAG relieved Defendant Nassar of his duties.12




9
  See, At MSU: Assault, harassment and secrecy. Matt Mencarini, December 15, 2016. Available
at, http://www.lansingstatejournal.com/story/news/local/2016/12/15/michigan-state-sexual-
assault- harassment-larry-nassar/94993582/. Last accessed January 5, 2017.
10
   Id.
11
   Id.
12
   See, Former USA Gymnastics doctor accused of abuse, Mark Alesia, Marisa Kwiatkowski,
Tim Evans, September 12, 2016. Available at, http://www.indystar.com/story/news/2016/09/12/
former-usa-gymnastics-doctor-accused-abuse/89995734/. Last accessed, January 5, 2017.
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107.   At no time did Defendant USAG inform Defendants MSU, MSU Trustees, or other MSU

       representatives of the concerns that led to Defendant Nassar being relieved from his duties

       with Defendant USAG.

108.   From July 2014 to September 2016, despite complaints about Nassar’s conduct, Defendant

       MSU continued to permit Defendant Nassar unfettered access to female athletes without

       adequate oversight or supervision to ensure he was complying with the new guidelines.

109.   Plaintiffs were not made aware of Defendant Nassar’s widespread sexual abuse until on or

       around September 12, 2016 or shortly thereafter through related media coverage.13

110.   Defendant Nassar’s employment ended with Defendant MSU on approximately September

       20, 2016 only after the MSU Defendants became aware that:

              a. Defendants Nassar and USAG were sued by a former Olympian who alleged she

                      was sexually assaulted by Defendant Nassar;14 and,

              b. A former patient of Defendant Nassar, Plaintiff Rachel Denhollander, filed a

                      criminal complaint with the Michigan State University Police Department

                      alleging Defendant Nassar sexually assaulted her when she was 15 years

                      old and seeking treatment for back pain as a result of gymnastics. Plaintiff

                      Denhollander’s allegations of sexual assault by Defendant Nassar included

                      but were not limited to:

                             A. Massaging her genitals;

                             B. Penetrating her vagina and anus with his finger and thumb; and,



13
  Id.
14
  See, Case No. 34-2016-00200075, filed with the Superior Court of the State of California,
County of Sacramento, September 8, 2016. A copy of the Complaint is available at
https://www.documentcloud.org/ documents/3106054-JANE-JD-COMPLAINT-Signed.html.
Last accessed, January 5, 2017.
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                             C. Unhooking her bra and massaging her breasts.15

111.   In late November 2016, Defendant Nassar was arrested and charged in Ingham County,

       Michigan on three charges of first-degree criminal sexual conduct with a person under 13,

       and was later released on $1 million bond.16 The case has been bound over to Circuit Court.

       Twenty-two additional counts were recently added.

112.   In mid-December 2016, Defendant Nassar was indicted, arrested, and charged in Federal

       Court in Grand Rapids, Michigan on charges of possession of child pornography and

       receipt/attempted receipt of child pornography.

113.   According to the federal indictment,17 Defendant Nassar:

              a. Knowingly received and attempted to receive child pornography between

                      approximately September 18, 2004 and December 1, 2004;

              b. Knowingly possessed thousands of images of child pornography between

                      approximately February 6, 2003 and September 20, 2016 including images

                      involving a minor who had not attained 12 years of age.

114.   To the best of Plaintiffs’ knowledge, Defendant Nassar is in federal custody pending the

       child pornography criminal charges.

                         V. SPECIFIC FACTUAL ALLEGATIONS

A. JANE UMSU DOE

115.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.



15
   See, Former USA Gymnastics doctor accused of abuse, Mark Alesia, Marisa Kwiatkowski,
Tim Evans, September 12, 2016. Available at, http://www.indystar.com/story/news/2016/09/12/
former-usa-gymnastics-doctor-accused-abuse/89995734/. Last accessed, January 5, 2017.
16
   State of Michigan, Ingham County Circuit Court Case No. 1603031.
17
   1:16-cr-00242 PageID.1-4.
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116.   Beginning in 2006, Plaintiff Jane UMSU Doe presented to Dr. Nassar with complaints of

       low back pain.

117.   At the time of her “treatments” with Defendant Nassar, Plaintiff UMSU Doe was a minor,

       approximately 14 years old when she began seeing him.

118.   Nassar diagnosed Plaintiff Jane UMSU Doe with a fracture in her back at L4.

119.   On several occasions between 2007 and 2008, at appointments at his office at MSU, Nassar

       sexually assaulted Plaintiff Jane UMSU Doe.

120.   Nassar would position Plaintiff on her stomach and, without gloves, digitally penetrate

       Plaintiff’s vagina. Plaintiff Jane UMSU Doe’s mother would attend these appointments

       with her, but Nassar would position himself in such a way as to prevent observation of his

       conduct. Nassar did not give prior notice or obtain consent for his conduct.

121.   Michigan State University and MSU Sports Medicine had received notice of Nassar’s

       inappropriate conduct on multiple occasions dating back to at least 1997.

122.   These actions were intentionally and fraudulently concealed and not documented in the

       medical record.

123.   Jane UMSU Doe believed the conduct of Dr. Nassar constituted medical treatment and did

       not discover or become aware that said conduct breached the standard of care or practice

       or was otherwise unlawful or tortious until the allegations against Dr. Nassar and Michigan

       State University were recently made public.

124.   Plaintiff Jane UMSU Doe did not treat or intend to treat with Dr. Nassar for issues related

       to obstetrics or gynecology (hereinafter “OB/GYN”).

125.   Based on Defendant Nassar’s representations and the representations of other individuals

       affiliated with the MSU defendants, Plaintiff Jane UMSU Doe believed the “treatment”



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       she received to be legitimate medical procedures until reports surfaced in or about

       September 2016 of similar allegations made by other women.

B. JANE VMSU DOE

126.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

127.   Jane VMSU Doe initially began treatment with Nassar in April or May, 2012 at age 12.

128.   She learned of Nassar through other girls at her dance studio who were being treated by

       him.

129.   Jane VMSU Doe was treated by Nassar through the spring of 2015, approximately.

130.   Jane VMSU Doe began seeing Nassar due to hip pain. She was initially diagnosed with a

       hip flexor problem – she had an alignment issue.

131.   Treatment involved taping her buttock area. It took approximately one year to get an actual

       diagnosis, which was “bilateral sports hernia.”

132.   Jane VMSU Doe received this diagnosis after being referred to another doctor at Henry

       Ford Hospital. Jane VMSU Doe underwent 2 surgeries in October, 2013 to treat the

       hernias. After this, Jane VMSU Doe tried physical therapy.

133.   Jane VMSU Doe began seeing Nassar again in approximately January, 2014 because she

       was having back pain. She saw him until the spring of 2015, at least.

134.   Jane VMSU Doe saw Nassar at the MSU location for every treatment except one time

       when Nassar treated her at his home.

135.   Nassar never wore gloves and he digitally penetrated her vagina at least once. The

       penetration occurred at the MSU location.




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136.   Nassar would have Jane VMSU Doe lie face down. Her buttocks were massaged at every

       visit.

137.   Once, she had a rib adjustment and Nassar touched her breasts.

138.   During the “treatments,” Jane VMSU Doe would wear spandex work out shorts. Nassar

       continued to be in contact with Jane VMSU Doe through at least July 2015.

139.   Some or all of this conduct occurred after Michigan State University imposed a particular

       protocol for Nassar, including but not limited to: 1) having another person (resident, nurse,

       etc.) in the room while he performed treatments; 2) procedures were to involve little to no

       skin contact; 3) procedures were to be explained in detail with another person in the room

       for both the explanation and the procedure.

140.   Michigan State University and MSU Sports Medicine had received notice of Nassar’s

       inappropriate conduct on multiple occasions dating back to at least 1997.

141.   In approximately September of 2016, Plaintiff Jane VMSU Doe became aware of

       allegations of sexual abuse against Nassar.

142.   These actions were intentionally and fraudulently concealed and not documented in the

       medical record.

143.   Jane VMSU Doe, a minor, believed the conduct of Dr. Nassar constituted medical

       treatment and did not discover or become aware that said conduct breached the standard of

       care or practice or was otherwise unlawful or tortious until the allegations against Dr.

       Nassar and Michigan State University were recently made public.

144.   Plaintiff Jane VMSU Doe did not treat or intend to treat with Dr. Nassar for issues related

       to obstetrics or gynecology (hereinafter “OB/GYN”).




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145.   Based on Defendant Nassar’s representations and the representations of other individuals

       affiliated with the MSU defendants, Plaintiff Jane VMSU Doe believed the “treatment”

       she received to be legitimate medical procedures until reports surfaced in or about

       September 2016 of similar allegations made by other women.

C. JANE WMSU DOE

146.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

147.   Jane WMSU Doe treated with Dr. Nassar in approximately 2001 at his office at MSU,

       when she was about 12 years old.

148.   Plaintiff Jane WMSU Doe was a ballerina during that time.

149.   Plaintiff Jane WMSU Doe presented to Nassar with complaints of knee and back pain.

150.   At appointments at his office at MSU, Nassar digitally penetrated Jane WMSU Doe’s

       vagina.

151.   Nassar would also place his hands on Jane WMSU Doe’s buttocks and rub up and down

       her legs.

152.   Nassar would position himself so that his groin would be against Jane WMSU Doe’s legs

       and knees, and on at least one occasion Nassar was sexually aroused.

153.   Nassar would place his hands under Jane WMSU Doe’s bra on her back.

154.   Nassar would also ask Jane WMSU Doe if she had a boyfriend. Nassar did not wear gloves

       or use lubricant, nor did he adequately explain the “treatment” or its purpose.

155.   Plaintiff Jane WMSU Doe did not treat or intend to treat with Dr. Nassar for issues related

       to obstetrics or gynecology (hereinafter “OB/GYN”).




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156.   Based on Defendant Nassar’s representations and the representations of other individuals

       affiliated with the MSU defendants, Plaintiff Jane WMSU Doe believed the “treatment”

       she received to be legitimate medical procedures until reports surfaced in or about

       September 2016 of similar allegations made by other women.

D. JANE XMSU DOE

157.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

158.   Jane XMSU Doe is a former gymnast, and began gymnastics at age 4,

159.   Jane XMSU Doe treated with Nassar in 2014 and 2015 at age 12. She is now 15 years old.

       She learned of Nassar through their involvement with Twistars.

160.   Jane XMSU Doe began seeing Nassar for a stomach injury. Jane XMSU Doe saw Nassar

       at his MSU office when Nassar treated her at his home.

161.   On at least one occasion, Nassar made manual contact with Jane XMSU Doe’s external

       genitalia.

162.   Nassar did not wear gloves for these “treatments.”

163.   Some or all of this conduct occurred after Michigan State University imposed a particular

       protocol for Nassar, including but not limited to: 1) having another person (resident, nurse,

       etc.) in the room while he performed treatments; 2) procedures were to involve little to no

       skin contact; 3) procedures were to be explained in detail with another person in the room

       for both the explanation and the procedure.

164.   Plaintiff Jane XMSU Doe did not treat or intend to treat with Dr. Nassar for OB/GYN

       issues.




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165.   Based on Defendant Nassar’s representations and the representations of other individuals

       affiliated with the MSU defendants, Plaintiff Jane XMSU Doe, a minor, believed the

       “treatment” she received to be legitimate medical procedures until reports surfaced in or

       about September 2016 of similar allegations made by other women.

       VI. CLAIMS AGAINST MICHIGAN STATE UNIVERSITY DEFENDANTS

       A. COUNT ONE

                               VIOLATIONS OF TITLE IX
                                20 U.S.C. §1681(a), et seq.
                           DEFENDANTS MSU, MSU TRUSTEES

166.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

167.   Title IX’s statutory language states, “No person in the United States shall on the basis of

       sex, be … subject to discrimination under any education program or activity receiving

       Federal financial assistance …”

168.   Plaintiffs are “persons” under the Title IX statutory language.

169.   Defendant MSU receives federal financial assistance for its education program and is

       therefore subject to the provisions of Title IX of the Education Act of 1972, 20 U.S.C.

       §1681(a), et seq.

170.   Defendant MSU is required under Title IX to investigate allegations of sexual assault,

       sexual abuse, and sexual harassment.

171.   The U.S. Department of Education’s Office of Civil Rights has explained that Title IX

       covers all programs of a school, and extends to sexual harassment and assault by

       employees, students and third parties.




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172.   Defendant Nassar’s actions and conduct were carried out under one or more of Defendant

       MSU programs, which provides medical treatment to students, athletes, and the public.

173.   Defendant Nassar’s conduct and actions toward Plaintiffs, that being nonconsensual digital

       vaginal and anal penetration, touching of Plaintiffs vaginal area, and touching of Plaintiffs

       breasts constitutes sex discrimination under Title IX.

174.   By at least 1999 and/or 2000, and as early as 1997 or 1998, an “appropriate person” at

       Defendant MSU had actual knowledge of the sexual assault, abuse, and molestation

       committed by Defendant Nassar.

175.   The MSU Defendants failed to carry out their duties to investigate and take corrective

       action under Title IX following complaints of sexual assault, abuse, and molestation in or

       around 1999 and/or 2000.

176.   The MSU Defendants were notified again in 2014 of Defendant Nassar’s conduct when a

       victim reported she had an appointment with Defendant Nassar to address hip pain and was

       sexually abused and molested by Defendant Nassar when he cupped her buttocks,

       massaged her breast and vaginal area, and he became sexually aroused.

177.   The victim reported to Defendant MSU facts which were omitted or withheld from the

       investigative report including but not limited to the following:

              a. Defendant Nassar was sexually aroused while touching her;

              b. The appointment with Defendant Nassar did not end until she physically removed

                      his hands from her body.

178.   Three months after initiating an investigation, in July 2014, the victim’s complaints were

       dismissed and Defendant MSU determined she didn’t understand the “nuanced difference”




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       between sexual assault and an appropriate medical procedure and deemed Defendant

       Nassar’s conduct “medically appropriate” and “Not of a sexual nature.”

179.   Following the investigation, upon information and belief, Defendant Nassar became

       subject to new institutional guidelines, one of which – it is believed – was that Defendant

       Nassar was not to examine or treat patients alone.

180.   The MSU Defendants failed to adequately supervise or otherwise ensure Defendant Nassar

       complied with the newly imposed institutional guidelines even though the MSU

       Defendants had actual knowledge Nassar posed a substantial risk of additional sexual abuse

       of females whom he had unfettered access.

181.   After the 2014 complaints Defendant Nassar continued to sexually assault, abuse, and

       molest individuals.

182.   The MSU Defendants acted with deliberate indifference to known acts of sexual assault,

       abuse, and molestation on its premises by:

              a. failing to investigate and address allegations as required by Title IX;

              b. failing to adequately investigate and address the 2014 complaint regarding

                      Defendant Nassar’s conduct; and,

              c. failing to institute corrective measures to prevent Defendant Nassar from

                      violating and sexually abusing other students and individuals, including

                      minors.

183.   The MSU Defendants acted with deliberate indifference as its lack of response to the

       allegations of sexual assault, abuse, and molestation was clearly unreasonable in light of

       the known circumstances, Defendant Nassar’s actions with female athletes, and his access

       to young girls and young women.



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184.   The MSU Defendants’ deliberate indifference was confirmed by the Department of

       Education’s investigation into Defendant MSU’s handling of sexual assault and

       relationship violence allegations which revealed:

              a. A sexually hostile environment existed and affected numerous students and staff

                      on Defendant MSU’s campus;

              b. That the University’s failure to address complaints of sexual harassment,

                      including sexual violence in a prompt and equitable manner caused and may

                      have contributed to a continuation of the sexually hostile environment.

185.   The MSU Defendants’ responses were clearly unreasonable as Defendant Nassar continued

       to sexually assault female athletes and other individuals until he was discharged from the

       University in 2016.

186.   Between the dates of approximately 1996 and 2016, the MSU Defendants acted in a

       deliberate, grossly negligent, and/or reckless manner when they failed to reasonably

       respond to Defendant Nassar’s sexual assaults and sex-based harassment of Plaintiffs on

       and off school premises.

187.   The MSU Defendants failed warn or advise current and former patients of Defendant

       Nassar, including Plaintiffs, that allegations could surface that in fact the treatments that

       the patients received was not medical treatment at all but was potentially sexual assault.

188.   The MSU Defendants failed to offer counseling services to current of former patients of

       Defendant Nassar, including Plaintiffs.

189.   The MSU Defendants’ failure to promptly and appropriately investigate and remedy and




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       respond to the sexual assaults after they received notice subjected Plaintiffs to further

       harassment and a sexually hostile environment, effectively denying them all access to

       educational opportunities at MSU, including medical care.

190.   As a or the direct and/or proximate result of the MSU Defendants’ actions and/or inactions,

       Plaintiffs have suffered and continue to suffer pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       B. COUNT TWO

                     VIOLATION OF CIVIL RIGHTS
                            42 U.S.C. § 1983
   ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS, DEFENDANT NASSAR

191.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

192.   Plaintiffs, as females, are members of a protected class under the Equal Protection Clause

       of the Fourteenth Amendment to the United States Constitution.

193.   Plaintiffs enjoy the constitutionally protected Due Process right to be free from the invasion

       of bodily integrity through sexual assault, abuse, or molestation.

194.   At all relevant times, Defendants MSU, MSU Trustees, and Nassar were acting under color

       of law, to wit, under color of statutes, ordinances, regulations, policies, customs, and usages

       of the State of Michigan and/or Defendant Michigan State University.

195.   The acts as alleged above amount to a violation of these clearly established constitutionally



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       protected rights, of which reasonable persons in the MSU Defendants’ positions should

       have known.

196.   The MSU Defendants have the ultimate responsibility and authority to train and supervise

       its employees, agents, and/or representatives, in the appropriate manner of detecting,

       reporting, and preventing sexual abuse, assault, and molestation and as a matter of acts,

       custom, policy, and/or practice, failed to do so with deliberate indifference.

197.   As a matter of custom, policy, and and/or practice, the MSU Defendants had and have the

       ultimate responsibility and authority to investigate complaints against their employees,

       agents, and representatives from all individuals including, but not limited to students,

       visitors, faculty, staff, or other employees, agents, and/or representatives, and failed to do

       so with deliberate indifference.

198.   The MSU Defendants had a duty to prevent sexual assault, abuse, and molestation on their

       campus and premises, that duty arising under the above-referenced constitutional rights, as

       well as established rights pursuant to Title IX.

199.   Defendant MSU’s internal policies provide that “[a]ll University employees ... are expected

       to promptly report sexual misconduct or relationship violence that they observe or learn

       about and that involves a member of the University community (faculty, staff or student)

       or occurred at a University event or on University property." They state further: "[t]he

       employee must report all relevant details about the alleged relationship violence or sexual

       misconduct that occurred on campus or at a campus-sponsored event. .. "

200.   Defendant MSU’s aforementioned internal policies were violated as early as 1997 when

       an individual reported sexual assault, abuse, and molestation by Defendant Nassar to MSU




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       representatives including trainers and a coach and no action was taken to address her

       complaints.

201.   Defendant MSU’s aforementioned internal policies were violated in again in 1999 and

       2000 when other individuals reported sexual assault, abuse, and molestation by Defendant

       Nassar to MSU representatives including trainers and no action was taken to address these

       complaints.

202.   The MSU Defendants’ failure to address the above-described complaints led to an

       unknown number of individuals being victimized, sexually assaulted, abused, and molested

       by Defendant Nassar.

203.   Additionally, the MSU Defendant’s failure to properly address the 2014 complaint

       regarding Defendant Nassar’s conduct also led to others being victimized, sexually

       assaulted, abused and molested by Defendant Nassar.

204.   Ultimately, Defendants failed to adequately and properly investigate the complaints of

       Plaintiffs or other similarly-situated individuals including but not limited to failing to:

              a. perform a thorough investigation into improper conduct by Defendant Nassar

                      with Plaintiffs after receiving complaints in 1999 and 2000;

              b. thoroughly review and investigate all policies, practices, procedures and training

                      materials related to the circumstances surrounding the conduct of Defendant

                      Nassar;

              c. recognize sexual assault when reported in 2014 and permitting University

                      officials to deem sexual assault as “medically appropriate” and “not of a

                      sexual nature;” and,




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                d. ensure all institutional guidelines issued following the 2014 investigation into

                       Defendant Nassar’s conduct were satisfied.

205.   As indicated in the U.S. Department of Education Office of Civil Rights report, the MSU

       Defendants had a culture that permitted a sexually hostile environment to exist affecting

       numerous individuals on Defendant MSU’s campus, including Plaintiffs.

206.   Also indicated in the report was Defendant MSU’s custom, practice, and/or policy of

       failing to address complaints of sexual harassment, including sexual violence in a prompt

       and equitable manner which caused and may have contributed to a continuation of the

       sexually hostile environment.

207.   By failing to prevent the aforementioned sexual assault, abuse, and molestation upon

       Plaintiffs, and by failing to appropriately respond to reports of Defendant Nassar’s sexual

       assault, abuse, and molestation in a manner that was so clearly unreasonable it amounted

       to deliberate indifference, the MSU Defendants are liable to Plaintiffs pursuant to 42 U.S.C.

       §1983.

208.   The MSU Defendants are also liable to Plaintiffs under 42 U.S.C. §1983 for maintaining

       customs, policies, practices which deprived Plaintiffs of rights secured by the Fourteenth

       Amendment to the United States Constitution in violation of 42 U.S.C. §1983.

209.   The MSU Defendants tolerated, authorized and/or permitted a custom, policy, practice or

       procedure of insufficient supervision and failed to adequately screen, counsel, or discipline

       Defendant Nassar, with the result that Defendant Nassar was allowed to violate the rights

       of persons such as Plaintiffs with impunity.




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210.    The MSU Defendants failed warn or advise current and former patients of Defendant

        Nassar, including Plaintiffs, that allegations could surface that in fact the treatments that

        the patients received was not medical treatment at all but was potentially sexual assault.

211.    The MSU Defendants failed to offer counseling services to current of former patients of

        Defendant Nassar, including Plaintiffs.

212.    As a or the direct and/or proximate result of the MSU Defendants’ actions and/or inactions,

        Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

        physical manifestations of emotional distress, embarrassment, loss of self-esteem,

        disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

        continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

        enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

        capacity.

        C. COUNT THREE

       VIOLATIONS OF THE ELLIOT-LARSEN CIVIL RIGHTS ACT, MCL 37.2101

213.    Plaintiff realleges and incorporates by reference the allegations contained in the preceding

        paragraphs.

214.    The Elliot-Larsen Civil Rights Act (“Elliot-Larsen”) prohibits discrimination based on sex.

        MCL 37.2102.

215.    “Discrimination because of sex includes sexual harassment.” MCL 37.2.103(i).

216.    “Sexual harassment means unwelcome sexual advances, requests for sexual favors, and

        other verbal or physical conduct or communication of a sexual nature.” MCL 37.2103(i).

217.    Elliot-Larsen protects against sexual harassment in educational institutions.

218.    MSU is an educational institution pursuant to MCL 37.2401.



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219.   An educational institution shall not “discriminate against an individual in the full utilization

       of or benefit from the institution, or the services, activities, or programs provided by the

       institution because of . . . sex.” MCL 37.2401(a) (emphasis added).

220.   Elliot-Larsen also protects against sexual harassment in places of public accommodation.

       MCL 37.2302. Under this section, an individual shall not be denied “full and equal

       enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of

       a place of public accommodation or public service because of . . . sex.” MCL37.2302(a).

221.   MSU is a “place of public accommodation” because its “services, facilities, privileges,

       advantages, or accommodations are extended, offered, sold, or otherwise made available

       to the public.” MCL 37.2301(a).

222.   Plaintiffs are “persons” within the meaning of MCL 37.2103(g).

223.   Nassar’s actions and conduct were carried out under one of MSU’s programs, which

       provides medical treatment to students, athletes, and the general public, wherein MSU,

       through MSU Sport Medicine Clinic, solicits and markets to people like Plaintiffs, and

       places Plaintiffs within the University community.

224.   Nassar’s actions and conduct toward Plaintiffs denied them the full and equal enjoyment

       of MSU’s services at a place of public accommodation, in violation of Elliot-Larson.

225.   Nassar’s actions and conduct toward Plaintiffs of nonconsensual sexual assault, battery,

       and molestation, which includes unconsented touching and rubbing of Plaintiffs’ genitalia,

       breasts, and unconsented digital penetration of Plaintiff’s vagina, constitute sex

       discrimination under Elliot-Larsen.

226.   As a or the direct and/or proximate result of the MSU and Nassar’s actions and inactions,

       Plaintiffs have suffered and continue to suffer pain of mind and body, shock, emotional



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       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, was prevented and will

       continue to be prevented from performing daily activities and obtaining the full enjoyment

       of life, and have sustained and continue to sustain loss of earnings and earning capacity.

       D. COUNT FOUR

                   FAILURE TO TRAIN AND SUPERVISE
                            42 U.S.C. § 1983
   ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS, NASSAR, STRAMPEL,
                     KOVAN, STOLLAK, and KLAGES

227.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

228.   The MSU Defendants have the ultimate responsibility and authority to train and supervise

       its employees, agents, and/or representatives including Defendants Nassar, Strampel,

       Kovan, Klages and all faculty and staff regarding their duties toward students, faculty, staff,

       and visitors.

229.   The MSU Defendants failed to train and supervise its employees, agents, and/or

       representatives including all faculty and staff, regarding the following duties:

              a. Perceive, report, and stop inappropriate sexual conduct on campus;

              b. Provide diligent supervision over student-athletes and other individuals;

              c. Report suspected incidents of sexual abuse or sexual assault;

              d. Ensure the safety of all students, faculty, staff, and visitors to Defendant MSU’s

                       campuses premises;

              e. Provide a safe environment for all students, faculty, staff, and visitors to

                       Defendant MSU’s premises free from sexual harassment; and,

              f. Properly train faculty and staff to be aware of their individual responsibility for

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                      creating and maintaining a safe environment.

230.   The above list of duties is not exhaustive.

231.   The MSU Defendants and their individual employees and agents, namely Defendants

       Strampel, Kovan, Klages, and Stollak, had a duty to report suspected sexual abuse.

232.   The MSU Defendants and their individual employees and agents, namely Defendants

       Strampel, Kovan, Klages, and Stollak failed to report sexual abuse about which they knew

       or should have known.

234.   The MSU Defendants failed to adequately train coaches, trainers, medical staff, and others

       regarding the aforementioned duties which led to violations of Plaintiffs rights.

235.   As a result, the MSU Defendants deprived Plaintiffs of rights secured by the Fourteenth

       Amendment to the United States Constitution in violation of 42 U.S.C. §1983.

236.   The MSU Defendants failed warn or advise current and former patients of Defendant

       Nassar, including Plaintiffs, that allegations could surface that in fact the treatments that

       the patients received was not medical treatment at all but was potentially sexual assault.

237.   The MSU Defendants failed to offer counseling services to current of former patients of

       Defendant Nassar, including Plaintiffs.

238.   As a or the direct and/or proximate result of Defendants’ actions and/or inactions, Plaintiffs

       suffered and continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       E. COUNT FIVE



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                        GROSS NEGLIGENCE
   ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS, NASSAR, STRAMPEL,
                    KOVAN, STOLLAK, and KLAGES

239.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

240.   The MSU Defendants owed Plaintiffs a duty to use due care to ensure their safety and

       freedom from sexual assault, abuse, and molestation while interacting with their

       employees, representatives, and/or agents, including Defendant Nassar.

241.   Defendant Nassar owed Plaintiffs a duty of due care in carrying out medical treatment as

       an employee, agent, and/or representative of the MSU Defendants.

242.   By seeking medical treatment from Defendant Nassar in the course of his employment,

       agency, and/or representation of the MSU Defendants, a special, confidential, and fiduciary

       relationship between Plaintiffs and Defendant Nassar was created, resulting in Defendant

       Nassar owing Plaintiffs a duty to use due care.

243.   The MSU Defendants and their individual employees and agents, namely Defendants

       Strampel, Kovan, Klages, and Stollak, had a duty to report suspected sexual abuse.

244.   The MSU Defendants and their individual employees and agents, namely Defendants

       Strampel, Kovan, Klages, and Stollak failed to report sexual abuse about which they knew

       or should have known.

245.   The MSU Defendants’ failure to adequately supervise Defendant Nassar, especially after

       MSU knew or should have known of complaints regarding his nonconsensual sexual

       touching and assaults during “treatments” was so reckless as to demonstrate a substantial

       lack of concern for whether an injury would result to Plaintiffs.




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246.   Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting Plaintiffs in the

       course of his employment, agency, and/or representation of the MSU Defendants and under

       the guise of rendering “medical treatment” was so reckless as to demonstrate a substantial

       lack of concern for whether an injury would result to Plaintiffs.

247.   The MSU Defendants’ conduct and the conduct of their individual employees and agents

       demonstrated a willful disregard for precautions to ensure Plaintiffs’ safety.

248.   The MSU Defendants’ conduct conduct and the conduct of their individual employees and

       agents as described above, demonstrated a willful disregard for substantial risks to

       Plaintiffs.

249.   The MSU Defendants conduct and the conduct of their individual employees and agents,

       namely Defendants Strampel, Kovan, Stollak, and Klages, breached duties owed to

       Plaintiffs and were grossly negligent when they conducted themselves by the actions

       described above, said acts having been committed with reckless disregard for Plaintiffs’

       health, safety, Constitutional and/or statutory rights, and with a substantial lack of concern

       as to whether an injury would result.

250.   The MSU Defendants failed warn or advise current and former patients of Defendant

       Nassar, including Plaintiffs, that allegations could surface that in fact the treatments that

       the patients received was not medical treatment at all but was potentially sexual assault.

251.   The MSU Defendants failed to offer counseling services to current of former patients of

       Defendant Nassar, including Plaintiffs.

252.   As a or the direct and/or proximate result of Defendants’ actions and/or inactions, Plaintiffs

       suffered and continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,



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       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       F. COUNT SIX

                            NEGLIGENCE
   ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS, NASSAR, STRAMPEL,
                    KOVAN, KLAGES, and STOLLAK

253.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

254.   The MSU Defendants and their individual employees and agents, namely Defendants

       Strampel, Kovan, Klages, and Stollak owed Plaintiffs a duty of ordinary care to ensure

       their safety and freedom from sexual assault, abuse, and molestation while interacting with

       their employees, representatives and/or agents.

255.   By seeking medical treatment from Defendant Nassar in his capacity as an employee,

       agent, and/or representative of the MSU Defendants, a special, confidential, and fiduciary

       relationship between Plaintiffs and Defendant Nassar was created, resulting in Defendant

       Nassar owing Plaintiffs a duty to use ordinary care.

256.   Defendant Nassar owed Plaintiffs a duty of ordinary care.

257.   The MSU Defendants and their individual employees and agents, namely Defendants

       Strampel, Kovan, Klages, and Stollak, had a duty to report suspected sexual abuse.

258.   The MSU Defendants and their individual employees and agents, namely Defendants

       Strampel, Kovan, Klages, and Stollak failed to report sexual abuse about which they knew

       or should have known.




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259.   The MSU Defendants’ failure to adequately train and supervise Defendant Nassar breached

       the duty of ordinary care.

260.   The MSU Defendants had notice through its own employees, agents, and/or representatives

       as early as 1997 or 1998, again in 1999, again in 2000, and again in 2014 of complaints of

       a sexual nature related to Defendant Nassar’s purported “treatments” with young girls and

       women.

261.   The MSU Defendants should have known of the foreseeability of sexual abuse with respect

       to youth and collegiate sports.

262.   The MSU Defendants’ failure to properly investigate, address, and remedy complaints

       regarding Defendant Nassar’s conduct was a breach of ordinary care.

263.   Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting Plaintiffs in the

       course of his employment, agency, and/or representation of the MSU Defendants was a

       breach of the duty to use ordinary care.

264.   The MSU Defendants failed warn or advise current and former patients of Defendant

       Nassar, including Plaintiffs, that allegations could surface that in fact the treatments that

       the patients received was not medical treatment at all but was potentially sexual assault.

265.   The MSU Defendants failed to offer counseling services to current of former patients of

       Defendant Nassar, including Plaintiffs.

266.   As a or the direct and/or proximate result of Defendants’ conduct, actions and/or inactions,

       Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

       physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full



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       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       G. COUNT SEVEN

                               VICARIOUS LIABILITY
                   ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS

267.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

268.   Vicarious liability is indirect responsibility imposed by operation of law where an

       employer is bound to keep its employees within their proper bounds and is responsible if

       it fails to do so.

269.   Vicarious liability essentially creates agency between the principal and its agent, so that

       the principal is held to have done what the agent has done.

270.   The MSU Defendants employed and/or held Defendant Nassar out to be its agent and/or

       representative from approximately 1996 to 2016.

271.   Defendant MSU’s website contains hundreds of pages portraying Defendant Nassar as a

       distinguished member of Defendant MSU’s College of Osteopathic Medicine, Division of

       Sports Medicine.

272.   The MSU Defendants are vicariously liable for the actions of Defendant Nassar as

       described above that were performed during the course of his employment, representation,

       and/or agency with the MSU Defendants and while he had unfettered access to young

       female athletes on MSU’s campus and premises through its College of Osteopathic

       Medicine and Division of Sports Medicine.

273.   As a or the direct and/or proximate result of Defendant Nassar’s actions carried out in the

       course of his employment, agency, and/or representation of the MSU Defendants, Plaintiffs

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       suffered and continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       H. COUNT EIGHT

                            EXPRESS/IMPLIED AGENCY
                     ALL PLAINTIFFS AGAINST MSU DEFENDANTS

274.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

275.   An agent is a person who is authorized by another to act on its behalf.

276.   The MSU Defendants intentionally or negligently made representations that Defendant

       Nassar was their employee, agent, and/or representative.

277.   On the basis of those representations, Plaintiffs reasonably believed that Defendant Nassar

       was acting as an employee, agent, and/or representative of the MSU Defendants.

278.   Plaintiffs were injured as a result of Defendant Nassar’s sexual assault, abuse, and

       molestation as described above, acts that were performed during the course of his

       employment, agency, and/or representation with the MSU Defendants and while he had

       unfettered access to young female athletes.

279.   Plaintiffs were injured because they relied on the MSU Defendants to provide employees,

       agents, and or representatives who would exercise reasonable skill and care.

280.   As a or the direct and/or proximate cause of Defendant Nassar’s negligence carried out in

       the course of his employment, agency, and/or representative of the MSU Defendants,

       Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

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         physical manifestations of emotional distress, embarrassment, loss of self-esteem,

         disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

         continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

         enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

         capacity.

         I. COUNT NINE

                          NEGLIGENT SUPERVISION
       ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS, STRAMPEL, KOVAN,
                              STOLLAK, and KLAGES

280.     Plaintiffs reallege and incorporate by reference the allegations contained in the previous

         paragraphs.

281.     The MSU Defendants had a duty to provide reasonable supervision of their employee,

         agent, and/or representative, Defendant Nassar, while he was in the course of his

         employment, agency or representation with the MSU Defendants and while he interacted

         with young female athletes including Plaintiffs.

282.     It was reasonably foreseeable given the known sexual abuse in youth sports and gymnastics

         in particular that Defendant Nassar who had prior allegations against him had or would

         sexually abuse children, including Plaintiffs, unless properly supervised.

283.     The MSU Defendants by and through their employees, agents, managers and/or assigns,

         such as President Simon, President McPherson, Dean Strampel, Gary E. Stollak, Kathie

         Klages, or Dr. Kovan knew or reasonably should have known of Defendant Nassar’s

         conduct and/or that Defendant Nassar was an unfit employee, agent, and/or representative

         because of his sexual interest in children.




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284.   The MSU Defendants breached their duty to provide reasonable supervision of Defendant

       Nassar, and permitted Defendant Nassar, who was in a position of trust and authority, to

       commit the acts against Plaintiffs.

285.   The aforementioned sexual abuse occurred while Plaintiffs and Defendant Nassar were on

       the premises of Defendant MSU, and while Defendant Nassar was acting in the course of

       his employment, agency, and/or representation of the MSU Defendants.

286.   The MSU Defendants tolerated, authorized and/or permitted a custom, policy, practice or

       procedure of insufficient supervision and failed to adequately screen, counsel, or discipline

       such individuals, with the result that Defendant Nassar was allowed to violate the rights of

       persons such as Plaintiffs with impunity.

287.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, failed warn or advise current and former patients of

       Defendant Nassar, including Plaintiffs, that allegations could surface that in fact the

       treatments that the patients received was not medical treatment at all but was potentially

       sexual assault.

288.   The MSU Defendants failed to offer counseling services to current of former patients of

       Defendant Nassar, including Plaintiffs.

289.   As a or the direct and/or proximate result of the Defendants’ negligent supervision,

       Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

       physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full




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       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       J. COUNT TEN

                     NEGLIGENT FAILURE TO WARN OR PROTECT
                   ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS

290.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

291.   The MSU Defendants knew or should have known that Defendant Nassar posed a risk of

       harm to Plaintiffs or those in Plaintiffs’ situation.

292.   As early as 1997, the MSU Defendants had direct and/or constructive knowledge as to the

       dangerous conduct of Defendant Nassar and failed to act reasonably and responsibly in

       response.

293.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, knew or should have known Defendant Nassar

       committed sexual assault, abuse, and molestation and/or was continuing to engage in such

       conduct.

294.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, had a duty to warn or protect Plaintiffs and others

       in Plaintiffs’ situation against the risk of injury by Defendant Nassar.

295.   The duty to disclose this information arose by the special, trusting, confidential, and

       fiduciary relationship between Defendant Nassar as an employee, agent, and or

       representative of the MSU Defendants and Plaintiffs.




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296.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, breached said duty by failing to warn Plaintiffs

       and/or by failing to take reasonable steps to protect Plaintiffs from Defendant Nassar.

297.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, breached their duties to protect Plaintiffs by failing

       to:

               a. respond to allegations of sexual assault, abuse, and molestation;

               b. detect and/or uncover evidence of sexual assault, abuse, and molestation; and,

               c. investigate, adjudicate, and terminate Defendant Nassar’s employment with

                         Defendant MSU prior to 2016.

298.   The MSU Defendants failed to adequately screen, counsel and/or discipline Defendant

       Nassar for physical and/or mental conditions that might have rendered him unfit to

       discharge the duties and responsibilities of a physician at an educational institution,

       resulting in violations of Plaintiffs’ rights.

299.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, willfully refused to notify, give adequate warning,

       and implement appropriate safeguards to protect Plaintiffs from Defendant Nassar’s

       conduct.

300.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, failed warn or advise current and former patients of

       Defendant Nassar, including Plaintiffs, that allegations could surface that in fact the

       treatments that the patients received was not medical treatment at all but was potentially

       sexual assault.



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301.     As a or the direct and/or proximate result of the Defendants’ negligent failure to warn or

         protect, Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional

         distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

         disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

         continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

         enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

         capacity.

         K. COUNT ELEVEN

                  NEGLIGENT FAILURE TO TRAIN OR EDUCATE
       ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS, STRAMPEL, KOVAN,
                              STOLLAK, and KLAGES

302.     Plaintiffs reallege and incorporate by reference the allegations contained in the previous

         paragraphs.

303.     The MSU Defendants and their individual employees or agents, namely Defendants

         Strampel, Kovan, Stollak, and Klages, breached their duty to take reasonable protective

         measures to protect Plaintiffs and other minors from the risk of childhood sexual abuse

         and/or sexual assault by Defendant Nassar, such as the failure to properly train or educate

         Plaintiffs and other individuals (including minors) about how to avoid such a risk.

304.     The MSU Defendants and their individual employees or agents, namely Defendants

         Strampel, Kovan, Stollak, and Klages, failed to implement reasonable safeguards to:

                a. Prevent acts of sexual assault, abuse, and molestation by Defendant Nassar;

                b. Avoid placing Defendant Nassar in positions where he would be in unsupervised

                        contact and interaction with Plaintiffs and other young athletes.




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305.   As a or the direct and/or proximate result of the Defendants’ negligent failure to train or

       educate, Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       L. COUNT TWELVE

                              NEGLIGENT RETENTION
                   ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS

306.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

307.   The MSU Defendants had a duty when credentialing, hiring, retaining, screening,

       checking,     regulating,   monitoring,   and   supervising       employees,   agents   and/or

       representatives to exercise due care, but they failed to do so.

308.   The MSU Defendants were negligent in the retention of Defendant Nassar as an employee,

       agent, and/or representative in their failure to adequately investigate, report and address

       complaints about his conduct of which they knew or should have known.

309.   The MSU Defendants were negligent in the retention of Defendant Nassar as an employee,

       agent, and/or representative when after they discovered, or reasonably should have

       discovered Defendant Nassar’s conduct which reflected a propensity for sexual

       misconduct.




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310.     The MSU Defendants’ failure to act in accordance with the standard of care resulted in

         Defendant Nassar gaining access to and sexually abusing and/or sexually assaulting

         Plaintiffs and an unknown number of other individuals.

311.     The aforementioned negligence in the credentialing, hiring, retaining, screening, checking,

         regulating, monitoring, and supervising of Defendant Nassar created a foreseeable risk of

         harm to Plaintiffs as well as other minors and young adults.

312.     As a or the direct and/or proximate result of the MSU Defendants’ negligent retention,

         Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

         physical manifestations of emotional distress, embarrassment, loss of self-esteem,

         disgrace, fright, grief, humiliation, and loss of enjoyment of life; were prevented and will

         continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

         enjoyment of life; have sustained and continue to sustain loss of earnings and earning

         capacity.

         M. COUNT THIRTEEN

              INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
       ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS, STRAMPEL, KOVAN,
                           STOLLAK, and KLAGES

313.     Plaintiffs reallege and incorporate by reference the allegations contained in the previous

         paragraphs.

314.     The MSU Defendants and their individual employees or agents, namely Defendants

         Strampel, Kovan, Stollak, and Klages, allowed Defendant Nassar to be in a position where

         he could sexually assault, abuse, and molest children and young adults.

315.     A reasonable person would not expect the MSU Defendants and their individual employees

         or agents, namely Defendants Strampel, Kovan, Stollak, and Klages, to tolerate or permit



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       their employee or agent to carry out sexual assault, abuse, or molestation after they knew

       or should have known of complaints and claims of sexual assault and abuse occurring

       during Defendant Nassar’s “treatments.”

316.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, held Defendant Nassar in high esteem and acclaim

       which in turn encouraged Plaintiffs and others to respect and trust Defendant Nassar and

       seek out his services and to not question his methods or motives.

317.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, protected Defendant Nassar in part to bolster and

       sustain his national and international reputation in the gymnastics community.

318.   A reasonable person would not expect the MSU Defendants and their individual employees

       or agents, namely Defendants Strampel, Kovan, Stollak, and Klages, to be incapable of

       supervising Defendant Nassar and/or preventing Defendant Nassar from committing acts

       of sexual assault, abuse, and molestation.

319.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, failed warn or advise current and former patients of

       Defendant Nassar, including Plaintiffs, that allegations could surface that in fact the

       treatments that the patients received was not medical treatment at all but was potentially

       sexual assault.

320.   The MSU Defendants’ conduct and the conduct of their individual employees or agents,

       namely Defendants Strampel, Kovan, Stollak, and Klages, as described above was

       intentional and/or reckless.

321.   The conduct described above constitutes extreme and outrageous conduct.



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322.   As a or the direct and/or proximate result of the Defendants’ conduct, Plaintiffs suffered

       continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       N. COUNT FOURTEEN

                  FRAUD AND MISREPRESENTATION
ALL PLAINTIFFS AGAINST MSU DEFENDANTS, STRAMPEL, KOVAN, STOLLAK,
                              and KLAGES

323.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

324.   From approximately 1996 to September 2016, the MSU Defendants and their individual

       employees or agents, namely Defendants Strampel, Kovan, Stollak, and Klages,

       represented to Plaintiffs and the public that Defendant Nassar was a competent and safe

       physician.

325.   By representing that Defendant Nassar was a team physician and athletic physician at

       Defendant MSU and a National Team Physician with Defendant USAG, the MSU

       Defendants and their individual employees or agents, namely Defendants Strampel, Kovan,

       Stollak, and Klages, represented to Plaintiffs and the public that Defendant Nassar was

       safe, trustworthy, of high moral and ethical repute, and that Plaintiffs and the public need

       not worry about being harmed by Defendant Nassar.




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326.   The representations were false when they were made as Defendant Nassar had and was

       continuing to sexually assault, abuse, and molest Plaintiffs and an unknown number of

       other individuals.

327.   As of 1999 and 2000, the MSU Defendants and their individual employees or agents,

       namely Defendants Strampel, Kovan, Stollak, and Klages, knew their representations of

       Defendant Nassar were false as at least two individuals had complained of Defendant

       Nassar’s conduct to MSU representatives.

328.   Although MSU was informed of Defendant Nassar’s conduct they failed to investigate,

       remedy, or in any way address the complaints.

329.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, continued to hold Defendant Nassar out as a

       competent and safe physician.

330.   Additional complaints against Defendant Nassar surfaced in 2014, however, because of

       Defendant MSU’s culture which included existence of a sexually hostile environment on

       Defendant MSU’s campus and premises and the University’s failure to address complaints

       of sexual harassment, including sexual violence in a prompt and equitable manner which

       in turn caused and may have contributed to a continuation of the sexually hostile

       environment, Defendant Nassar was permitted to continue employment and sexually abuse,

       assault, and molest Plaintiffs and an unknown number of other individuals.

331.   As a result of complaints made about Defendant Nassar’s conduct, the MSU Defendants

       imposed restrictions on Defendant Nassar’s practice, including but not limited to: 1) having

       another person (resident, nurse, etc.) in the room while he performed treatments; 2)




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       procedures were to involve little to no skin contact; 3) procedures were to be explained in

       detail with another person in the room for both the explanation and the procedure.

332.   Between the time of the 2014 complaint and September 2016 and in spite of the above-

       described restrictions, the MSU Defendants and their individual employees or agents,

       namely Defendants Strampel, Kovan, Stollak, and Klages, continued to hold Defendant

       Nassar out as a competent and safe physician.

333.   The public in general and the Plaintiffs in particular were not made aware of the restrictions

       on Defendant Nassar’s practice.

334.   Plaintiffs relied on the assertions of the MSU Defendants and their individual employees

       or agents, namely Defendants Strampel, Kovan, Stollak, and Klages, and several Plaintiffs

       continued to seek treatment from Defendant Nassar in the wake of known concerns and

       dangers.

335.   Plaintiffs were subjected to sexual assault, abuse, and molestation as a result of the MSU

       Defendants’ and their individual employees or agents’ fraudulent misrepresentations

       regarding Defendant Nassar.

336.   As a or the direct and/or proximate result of the Defendants’ fraudulent misrepresentations,

       Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

       physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life; were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life; have sustained and continue to sustain loss of earnings and earning

       capacity.

                       VII. CLAIMS AGAINST USA GYMNASTICS



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       A. COUNT FIFTEEN

                           GROSS NEGLIGENCE
                             ALL PLAINTIFFS
              AGAINST DEFENDANT USAG AND DEFENDANT NASSAR

337.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

338.   Defendant USAG owed the public and the Plaintiffs a duty to use due care to ensure their

       safety and freedom from sexual assault, abuse, and molestation while interacting with their

       employees, representatives, and/or agents.

339.   The Plaintiffs are or were members of USAG, participated in USAG sanctioned events,

       and/or were knowledgeable of USAG and considered it to be a prestigious organization.

       In some cases Plaintiffs were referred to Defendant Nassar through USAG affiliations.

340.   Defendant Nassar owed Plaintiffs a duty to use due care in his capacity as an employee,

       representative, and/or agent of Defendant USAG.

341.   By seeking medical treatment from Defendant Nassar in his capacity as an employee,

       agent, and/or representative of Defendant USAG, a special, confidential, and fiduciary

       relationship between Plaintiffs Defendant Nassar was created, resulting in Defendant

       Nassar owing Plaintiffs a duty to use due care.

342.   Defendant USAG’s failure to adequately supervise Defendant Nassar was so reckless as to

       demonstrate a substantial lack of concern for whether an injury would result to Plaintiffs.

343.   Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting Plaintiffs under

       the guise of rendering medical “treatment” as an employee, representative, and/or agent of

       Defendant USAG was so reckless as to demonstrate a substantial lack of concern for

       whether an injury would result to Plaintiffs.



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345.   Defendant USAG’s conduct demonstrated a willful disregard for necessary precautions to

       reasonably protect Plaintiffs’ safety.

346.   Defendant USAG’s conduct as described above, demonstrated a willful disregard for

       substantial risks to Plaintiffs.

347.   Defendant USAG breached duties owed to Plaintiffs and were grossly negligent when they

       conducted themselves by actions described above, including but not limited to their failure

       to notify MSU about the reasons for Nassar’s separation from USAG and more broadly the

       issues surrounding sexual abuse in gymnastics and warning signs and reporting

       requirements. Said acts were committed with reckless disregard for Plaintiffs’ health,

       safety, Constitutional and/or statutory rights, and with a substantial lack of concern as to

       whether an injury would result.

348.   As a direct and/or proximate result of Defendant USAG’s actions and/or inactions,

       Plaintiffs suffered continue to suffer pain of mind and body, shock, emotional distress,

       physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       B. COUNT SIXTEEN
                              NEGLIGENCE
                             ALL PLAINTIFFS
              AGAINST DEFENDANT USAG AND DEFENDANT NASSAR

349.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.




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350.   Defendant USAG owed the public and Plaintiffs a duty of ordinary care to ensure their

       safety and freedom from sexual assault, abuse, and molestation while being treated by their

       employees, representatives, and agents.

351.   Plaintiffs had a reasonable expectation that the USAG was recommending, employing, and

       holding out competent and ethical physicians and trainers for medical treatment who would

       carry out said treatment without sexual assault, abuse, and molestation.

352.   By seeking medical treatment from Defendant Nassar in his capacity as an employee,

       agent, and/or representative of Defendant USAG, a special, confidential, and fiduciary

       relationship between Plaintiffs and Defendant Nassar was created, resulting in Defendant

       Nassar owing Plaintiffs a duty to use ordinary care.

353.   Defendant Nassar owed Plaintiffs duty of ordinary care in carrying out medical treatment.

354.   Defendant USAG’s failure to adequately train and supervise Defendant Nassar breached

       the duty of ordinary care.

355.   Defendant USAG’s failure to properly investigate, address, and remedy complaints

       regarding Defendant Nassar’s conduct was a breach of ordinary care.

356.   Defendant USAG’s failure to inform Plaintiffs and the public of the allegations and

       concerns leading to Defendant Nassar’s separation from USAG was a breach of ordinary

       care.

357.   Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting Plaintiffs was

       a breach of the duty to use ordinary care.

358.   As a direct and/or proximate result of Defendants’ conduct, actions and/or inactions,

       Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

       physical manifestations of emotional distress, embarrassment, loss of self-esteem,



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       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       C. COUNT SEVENTEEN

                               VICARIOUS LIABILITY
                      ALL PLAINTIFFS AGAINST DEFENDANT USAG

359.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

360.   Vicarious liability is indirect responsibility imposed by operation of law where an

       employer is bound to keep its employees within their proper bounds and is responsible if

       it fails to do so.

361.   Vicarious liability essentially creates agency between the principal and its agent, so that

       the principal is held to have done what the agent has done.

362.   Defendant USAG’s website contains sites portraying Defendant Nassar as the recipient of

       distinguished awards and boasts him as having been “instrumental” to the success of USA

       gymnastics.

363.   Defendant USAG employed and/or held Defendant Nassar out to be its agent and/or

       representative from approximately 1986 to 2015.

364.   Defendant USAG is vicariously liable for the actions of Defendant Nassar as described

       above that were performed during the course of his employment, representation, or agency

       with Defendant USAG and while he had unfettered access to young female athletes.

365.   As a direct and/or proximate cause of Defendant Nassar’s negligence carried out in the

       course of his employment, agency, and/or representation with Defendant USAG Plaintiffs

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       suffered and continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       D. COUNT EIGHTEEN

                            EXPRESS/IMPLIED AGENCY
                     ALL PLAINTIFFS AGAINST DEFENDANT USAG

366.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

367.   An agent is a person who is authorized by another to act on its behalf.

368.   Defendant USAG intentionally or negligently made representations that Defendant Nassar

       was their employee, agent, and/or representative.

369.   On the basis of those representations, Plaintiffs reasonably believed Defendant Nassar was

       acting as an employee, agent, and/or representation of Defendant USAG.

370.   Plaintiffs were injured as a result of Defendant Nassar’s sexual assault, abuse, and

       molestation as described above carried out through his employment, agency, and/or

       representation with Defendant USAG.

371.   Plaintiffs were injured because they relied on Defendant USAG to provide employees or

       agents who would exercise reasonable skill and care.

372.   As a direct and/or proximate cause of Defendant Nassar’s negligence carried out in the

       course of his employment, agency, and/or representation with Defendant USAG, Plaintiffs

       suffered and continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

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       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       E. COUNT NINETEEN

                             NEGLIGENT SUPERVISION
                     ALL PLAINTIFFS AGAINST DEFENDANT USAG

373.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

374.   Defendant USAG had a duty to provide reasonable supervision of its employee, agent,

       and/or representative, Defendant Nassar, while he was in the course of his employment,

       agency and/or representation of Defendant USAG and while he interacted with young

       female athletes including Plaintiffs.

375.   It was reasonably foreseeable given the known sexual abuse in youth sports and gymnastics

       in particular that Defendant Nassar who had prior allegations against him had or would

       sexually abuse children, including Plaintiffs, unless properly supervised.

376.   Defendant USAG by and through their employees, agents, managers and/or assigns such

       as Mr. Penny or Mr. Colarossi, knew or reasonably should have known of Defendant

       Nassar’s conduct and/or that Defendant Nassar was an unfit employee, agent, and/or

       representative because of his sexual interest in children and young adults.

377.   Defendant USAG breached its duty to provide reasonable supervision of Defendant Nassar,

       and its failure permitted Defendant Nassar, who was in a position of trust and authority, to

       commit the acts against Plaintiffs.

378.   The aforementioned sexual abuse occurred while Defendant Nassar was acting in the

       course of his employment, agency and/or representation of Defendant USAG.

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379.   Defendant USAG tolerated, authorized and/or permitted a custom, policy, practice or

       procedure of insufficient supervision and failed to adequately screen, counsel or discipline

       Defendant Nassar, with the result that Defendant Nassar was allowed to violate the rights

       of persons such as Plaintiffs with impunity.

380.   As a direct and/or proximate result of Defendant USAG’s negligent supervision, Plaintiffs

       suffered and continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       F. COUNT TWENTY

                     NEGLIGENT FAILURE TO WARN OR PROTECT
                     ALL PLAINTIFFS AGAINST DEFENDANT USAG

381.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

382.   Given the direct or indirect knowledge of sexual abuse in youth sports and in particular

       gymnastics, it was reasonably foreseeable that sexual abuse of minors may occur if proper

       procedures were not taken by Defendant USAG.

383.   Defendant USAG knew or should have known that Defendant Nassar posed a risk of harm

       to Plaintiffs or those in Plaintiffs’ situation.

384.   Defendant USAG had direct and/or constructive knowledge as to the dangerous conduct of

       Defendant Nassar and failed to act reasonably and responsibly in response.




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385.   Defendant USAG knew or should have known that Defendant Nassar previously

       committed sexual assault, abuse, and molestation and/or was continuing to engage in such

       conduct.

386.   Defendant USAG had a duty to warn or protect the public, Plaintiffs, and others in

       Plaintiffs’ situation against the risk of injury by Defendant Nassar.

387.   The duty to disclose this information arose by the special, trusting, confidential, and

       fiduciary relationship between Defendant Nassar in his capacity as employee, agent, and/or

       representative of Defendant USAG and Plaintiffs.

388.   Defendant USAG breached said duty by failing to warn the public and the Plaintiffs and/or

       by failing to take reasonable steps to protect the public and the Plaintiffs from Defendant

       Nassar.

389.   Defendant USAG breached its duties to protect Plaintiffs by failing to detect and/or

       uncover evidence of sexual abuse and sexual assault, investigate Defendant Nassar,

       adjudicate and suspend and/or ban Defendant Nassar from USAG affiliation and USAG

       sanctioned events.

390.   Defendant USAG failed to adequately screen, counsel and/or discipline Defendant Nassar

       for physical and/or mental conditions that might have rendered him unfit to discharge the

       duties and responsibilities of a physician in his capacity as an employee, agent, and/or

       representative of Defendant USAG, resulting in violations of Plaintiffs’ rights.

391.   Defendant USAG willfully refused to notify, give adequate warning, and implement

       appropriate safeguards to protect Plaintiffs from Defendant Nassar’s conduct.

392.   As a direct and/or proximate result of Defendant USAG’s negligent failure to warn or

       protect, Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional



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       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       G. COUNT TWENTY-ONE

                     NEGLIGENT FAILURE TO TRAIN OR EDUCATE
                     ALL PLAINTIFFS AGAINST DEFENDANT USAG

393.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

394.   Defendant USAG breached its duty to take reasonable protective measures to protect the

       public and Plaintiffs from the risk of sexual abuse and/or sexual assault by Defendant

       Nassar, such as the failure to properly train or educate Plaintiffs and other individuals

       (including minors) about how to avoid such a risk.

395.   Defendant USAG failed to implement reasonable safeguards to:

              a. Prevent acts of sexual assault, abuse, and molestation by Defendant Nassar;

              b. Avoid placing Defendant Nassar in positions where he would be in unsupervised

                      contact and interaction with Plaintiffs and other young athletes.

396.   As a direct and/or proximate result of Defendant USAG’s negligent failure to train or

       educate, Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full




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       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       H. COUNT TWENTY-TWO

                              NEGLIGENT RETENTION
                     ALL PLAINTIFFS AGAINST DEFENDANT USAG

397.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

398.   Defendant USAG had a duty when credentialing, hiring, retaining, screening, checking,

       regulating, monitoring, and supervising employees, agents and/or representatives to

       exercise due care, but they failed to do so.

399.   Defendant USAG was negligent in the retention of Defendant Nassar as an employee,

       agent, and/or representative in their failure to adequately investigate, report, and address

       complaints about his conduct of which they knew or should have known.

400.   Defendant USAG was negligent in the retention of Defendant Nassar when after they

       discovered, or reasonably should have discovered Defendant Nassar’s conduct which

       reflected a propensity for sexual misconduct.

401.   Defendant USAG’s failure to act in accordance with the standard of care resulted in

       Defendant Nassar gaining access to and sexually abusing and/or sexually assaulting

       Plaintiffs as well as an unknown number of other individuals.

402.   The aforementioned negligence in the credentialing, hiring, retaining, screening, checking,

       regulating, monitoring, and supervising of Defendant Nassar created a foreseeable risk of

       harm to Plaintiffs as well as other minors and young adults.

403.   As a direct and/or proximate result of Defendant USAG’s negligent retention, Plaintiffs

       suffered and continue to suffer pain of mind and body, shock, emotional distress, physical

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       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       I. COUNT TWENTY-THREE

               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                  ALL PLAINTIFFS AGAINST DEFENDANT USAG

404.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

405.   Defendant USAG allowed Defendant Nassar to be in a position where he could sexually

       assault, abuse, and molest children and young adults.

406.   A reasonable person would not expect Defendant USAG to tolerate or permit their

       employee, agent, or representative to carry out sexual assault, abuse, or molestation.

407.   Defendants USAG held Defendant Nassar in high esteem and acclaim which in turn

       encouraged Plaintiffs and others to respect and trust Defendant Nassar and seek out his

       services and to not question his methods or motives.

408.   Defendants USAG protected Defendant Nassar in part to bolster his national and

       international reputation in the gymnastics community.

409.   A reasonable person would not expect Defendant USAG to be incapable of supervising

       Defendant Nassar and/or preventing Defendant Nassar from committing acts of sexual

       assault, abuse and molestation.

410.   Defendant USAG’s conduct as described above was intentional and/or reckless.

411.   As a direct and/or proximate result of Defendant USAG’s intentional infliction of

       emotional distress, Plaintiffs suffered and continue to suffer pain of mind and body, shock,

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       emotional distress, physical manifestations of emotional distress, embarrassment, loss of

       self-esteem, disgrace, fright, grief, humiliation, and loss of enjoyment of life, were

       prevented and will continue to be prevented from performing Plaintiffs’ daily activities and

       obtaining the full enjoyment of life, and have sustained and continue to sustain loss of

       earnings and earning capacity.

       J. COUNT TWENTY-FOUR

                          FRAUD AND MISREPRESENTATION
                     ALL PLAINTIFFS AGAINST DEFENDANT USAG

412.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

413.   From approximately 1996 to summer 2015, Defendant USAG represented to Plaintiffs and

       the public that Defendant Nassar was a competent, ethical, and safe physician.

414.   By representing that Defendant Nassar was a team physician and athletic physician at

       Defendant MSU and a National Team Physician with Defendant USAG, Defendant USAG

       represented to Plaintiffs and the public that Defendant Nassar was safe, trustworthy, of

       high moral and ethical repute, and that Plaintiffs and the public need not worry about being

       harmed by Defendant Nassar.

415.   The representations were false when they were made as Defendant Nassar had and was

       continuing to sexually assault, abuse, and molest Plaintiffs and an unknown number of

       other individuals.

416.   Additionally, complaints were made to Defendant USAG, yet Defendant USAG did not

       contact Plaintiffs, the MSU Defendants, or any other clubs, or organizations affiliated with

       Defendant Nassar to inform them of the allegations and potential harm to Plaintiffs and

       others.

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417.   Plaintiffs relied on the assertions of Defendant USAG and several Plaintiffs continued to

       seek treatment of Defendant Nassar in the wake of known concerns and dangers.

418.   Plaintiffs were subjected to sexual assault, abuse, and molestation as a result of Defendant

       USAG’s fraudulent misrepresentations regarding Defendant Nassar.

419.   As a direct and/or proximate result of Defendant USAG’s fraud and misrepresentation,

       Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

       physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

                           VIII. CLAIMS AGAINST TWISTARS

       A. COUNT TWENTY-FIVE

                        GROSS NEGLIGENCE
 ALL PLAINTIFFS AGAINST DEFENDANTS TWISTARS, NASSAR, and GEDDERT

420.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

421.   Defendant Twistars and Defendant Geddert owed the public and the Plaintiffs a duty to use

       due care to ensure their safety and freedom from sexual assault, abuse, and molestation

       while interacting with their employees, representatives, and/or agents.

422.   Defendant Nassar owed Plaintiffs a duty to use due care as an employee, representative,

       and/or agent of Defendant Twistars.

423.   By seeking medical treatment from Defendant Nassar in his capacity as an employee,

       agent, and/or representative of Defendant Twistars, a special, confidential, and fiduciary

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       relationship between Plaintiffs Defendant Nassar was created, resulting in Defendant

       Nassar owing Plaintiffs a duty to use due care.

424.   Given known sexual abuse which has taken place in youth sports including gymnastics and

       the reasonable foreseeability that harm may occur to athletes, Defendant Twistars and

       Defendant Geddert not only referred athletes to Defendant Nassar but also failed to

       adequately supervise Defendant Nassar. Defendants’ actions were so reckless as to

       demonstrate a substantial lack of concern for whether an injury would result to Plaintiffs.

425.   Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting Plaintiffs in the

       course of his employment, agency, and/or representation of Defendant Twistars and under

       the guise of rendering medical “treatment” as an employee, representative, and/or agent of

       Defendant Twistars was so reckless as to demonstrate a substantial lack of concern for

       whether an injury would result to Plaintiffs.

426.   Defendant Twistars’ conduct and the conduct of Defendant Geddert demonstrated a willful

       disregard for precautions to ensure Plaintiffs’ safety.

427.   Defendant Twistars’ conduct and the conduct of Defendant Geddert as described above,

       demonstrated a willful disregard for substantial risks to Plaintiffs.

428.   Defendant Twistars and Defendant Geddert breached duties owed to Plaintiffs and were

       grossly negligent when they conducted themselves by actions described above, said acts

       having been committed with reckless disregard for Plaintiffs’ health, safety, Constitutional

       and/or statutory rights, and with a substantial lack of concern as to whether an injury would

       result.

429.   As a direct and/or proximate result of Defendants’ gross negligence, Plaintiffs suffered and

       continue to suffer pain of mind and body, shock, emotional distress, physical



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       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       B. COUNT TWENTY-SIX

                             NEGLIGENCE
                            ALL PLAINTIFFS
            AGAINST DEFENDANTS TWISTARS, NASSAR, and GEDDERT

430.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

431.   In or around 1998, a parent of a gymnast at Defendant Twistars’ facility complained to

       Defendant Geddert, the owner and operator of Defendant Twistars, regarding Dr. Nassar’s

       conduct alleging sexual abuse, assault, and molestation.

432.   Despite being informed of Defendant Nassar’s conduct, Defendant Geddert recommended

       Defendant Nassar as a physician to members and guests of Defendant Twistars.

433.   Defendant Geddert owed Plaintiffs a duty of ordinary care to ensure their safety and

       freedom from sexual assault, abuse, and molestation.

434.   In recommending Defendant Nassar with knowledge of Defendant Nassar’s conduct,

       Defendant Geddert breached the duty of ordinary care to Plaintiffs and the public.

435.   Defendant Twistars breached the duty of ordinary care to Plaintiffs and the public in failing

       to investigate the 1998 allegations which were made to Defendant Geddert.

436.   Defendant Twistars and Defendant Geddert breached the duty of ordinary care to Plaintiffs

       and the public by failing to report the 1998 allegations, which were made to Defendant

       Geddert, to law enforcement.



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437.   Plaintiffs, as members the public, in taking the recommendation of Defendant Geddert to

       seek medical treatment from Defendant Nassar had a reasonable expectation that

       Defendant Nassar would carry out medical treatment without subjecting them to sexual

       assault, abuse, or molestation.

438.   By seeking medical treatment from Defendant Nassar, a special, confidential, and fiduciary

       relationship between Plaintiffs and Defendant Nassar was created, resulting in Defendant

       Nassar owing Plaintiffs a duty to use ordinary care.

439.   Defendant Nassar owed Plaintiffs a duty of ordinary care in carrying out medical treatment

       at Defendant Twistars’ facilities.

440.   Defendant Twistars’ failure to adequately train and supervise Defendant Nassar while he

       was at their facility breached the duty of ordinary care.

441.   Defendant Nassar’s conduct at Defendant Twistars’ facility, in sexually assaulting,

       abusing, and molesting Plaintiffs in the course of and under the guise of rendering medical

       “treatment” was a breach of the duty to use ordinary care.

442.   As a direct and/or proximate result of Defendants’ negligence, Plaintiffs suffered and

       continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       C. COUNT TWENTY-SEVEN

                       EXPRESS/IMPLIED AGENCY
       ALL PLAINTIFFS AGAINST DEFENDANTS TWISTARS and GEDDERT




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443.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

444.   An agent is a person who is authorized by another to act on its behalf.

445.   Defendant Twistars intentionally or negligently made representations that Defendant

       Nassar was their employee, agent, and/or representative.

446.   On the basis of those representations, Plaintiffs reasonably believed that Defendant Nassar

       was acting as an employee, agent, and/or representative of Defendant Twistars.

447.   Plaintiffs were injured as a result of Defendant Nassar’s sexual assault, abuse, and

       molestation as described above.

448.   Plaintiffs were injured because they relied on Defendant Twistars to provide employees,

       agents, and/or representatives who would exercise reasonable skill or care.

449.   As a direct and/or proximate result of Defendant Twistars’ negligent failure to train or

       educate, Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       D. COUNT TWENTY-EIGHT

                        NEGLIGENT SUPERVISION
       ALL PLAINTIFFS AGAINST DEFENDANTS TWISTARS and GEDDERT

450.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.




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451.   Defendant Twistars and Defendant Geddert each had a duty to provide reasonable

       supervision of its employee, agent, and/or representative, Defendant Nassar, while he was

       in the course of his employment, agency, or representation of Defendant Twistars when he

       interacted with young female athletes including Plaintiffs.

452.   It was reasonably foreseeable given the known sexual abuse in youth sports and gymnastics

       in particular that Defendant Nassar who had prior allegations against him had or would

       sexually abuse children and young women, including Plaintiffs, unless properly

       supervised.

453.   Defendant Twistars by and through their employees, agents, managers, and/or assigns, and

       in particular by Defendant Geddert, knew or reasonably should have known of Defendant

       Nassar’s conduct and/or that Defendant Nassar was an unfit employee, agent, and/or

       representative because of his sexual interest in children and young adults and due to the

       1998 complaint made to Defendant Geddert of the nonconsensual sexual touching during

       “treatment.”

454.   Defendant Twistars and Defendant Geddert breached their duty to provide reasonable

       supervision of Defendant Nassar, and permitted Defendant Nassar, who was in a position

       of trust and authority, to commit the acts against Plaintiffs.

455.   The aforementioned sexual abuse occurred while Plaintiffs and Defendant Nassar were on

       the premises of Defendant Twistars, and while Defendant Nassar was acting in the course

       of his employment, agency, or representation of Defendant Twistars.

456.   Defendant Twistars and Defendant Geddert tolerated, authorized and/or permitted a

       custom, policy, practice or procedure of insufficient supervision and failed to adequately




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       screen, counsel, or discipline such individuals, with the result that Defendant Nassar was

       allowed to violate the rights of persons such as Plaintiffs with impunity.

457.   As a direct and/or proximate result of Defendants’ negligent failure to supervise, Plaintiffs

       suffered and continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       E. COUNT TWENTY-NINE

                     NEGLIGENT FAILURE TO WARN OR PROTECT
       ALL PLAINTIFFS AGAINST DEFENDANTS TWISTARS and GEDDERT
458.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

459.   Defendant Twistars and Defendant Geddert knew or should have known that Defendant

       Nassar posed a risk of harm to Plaintiffs or those in Plaintiffs’ situation.

460.   As   early    as   1998,    Defendant     Twistars,    by   a    complaint     made   to   its

       owner/employee/agent/representative Defendant John Geddert, had direct and/or

       constructive knowledge as to the dangerous conduct of Defendant Nassar and failed to act

       reasonably and responsibly in response.

461.   Defendant Twistars and Defendant Geddert knew or should have known that Defendant

       Nassar committed sexual assault, abuse, and molestation and/or was continuing to engage

       in such conduct.

462.   Defendant Twistars and Defendant Geddert had a duty to warn or protect Plaintiffs and

       others in Plaintiffs’ situation against the risk of injury by Defendant Nassar.



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463.   The duty to disclose this information arose by the special, trusting, confidential, and

       fiduciary relationship between Defendant Nassar, an agent/representative/employee of

       Defendant Twistars and Plaintiffs.

464.   Defendant Twistars and Defendant Geddert breached said duty by failing to warn Plaintiffs

       and/or by failing to take reasonable steps to protect Plaintiffs from Defendant Nassar.

465.   Defendant Twistars and Defendant Geddert breached its duties to protect Plaintiffs by

       failing to detect and/or uncover evidence of sexual abuse and sexual assault, which was

       taking place on its premises and at its facility.

466.   Defendant Twistars and Defendant Geddert breached its duties to protect Plaintiffs by

       failing to investigate Defendant Nassar, adjudicate and suspend and/or ban Defendant

       Nassar from Twistars sanctioned events.

467.   Defendant Twistars and Defendant Geddert failed to adequately screen, counsel, and/or

       discipline Defendant Nassar for physical and/or mental conditions that might have rendered

       him unfit to discharge the duties and responsibilities of a physician with their organization,

       resulting in violations of Plaintiffs’ rights.

468.   Defendant Twistars and Defendant Geddert willfully refused to notify, give adequate

       warning, and implement appropriate safeguards to protect Plaintiffs from Defendant

       Nassar’s conduct.

469.   As a direct and/or proximate result of Defendants’ negligent failure to warn or protect,

       Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

       physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full



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       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       F. COUNT THIRTY

            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
       ALL PLAINTIFFS AGAINST DEFENDANTS TWISTARS and GEDDERT

470.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

471.   Defendant Twistars and Defendant Geddert allowed Defendant Nassar to be in a position

       where he could sexually assault, abuse, and molest children and young adults at its facility

       and other places.

472.   A reasonable person would not expect Defendant Twistars and Defendant Geddert to

       tolerate or permit their employee, agent, or representative to carry out sexual assault, abuse,

       or molestation.

473.   Defendant Twistars and Defendant Geddert held Defendant Nassar in high esteem and

       acclaim which in turn encouraged Plaintiffs and others to respect and trust Defendant

       Nassar, seek his services, and to not question his methods or motives.

474.   Defendant Twistars and Defendant Geddert protected Defendant Nassar in part to bolster

       and sustain his national and international reputation in the gymnastics community, and

       Twistars’ reputation in the gymnastics community.

475.   A reasonable person would not expect Defendant Twistars and Defendant Geddert to be

       incapable of supervising Defendant Nassar and/or preventing Defendant Nassar from

       committing acts of sexual assault, abuse, and molestation on their premises and at their

       facility.




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476.   Defendant Twistars’ conduct and the conduct of Defendant Geddert as described above

       was intentional and/or reckless.

477.   As a direct and/or proximate result of Defendants’ intentional infliction of emotional

       distress, Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       G. COUNT THIRTY-ONE

                     FRAUD AND MISREPRESENTATION
        ALL PLAINTIFFS AGAINST DEFENDANT TWISTARS and GEDDERT

478.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

479.   From approximately 1996 to September 2016, Defendant Twistars and Defendant Geddert

       represented to Plaintiffs and the public that Defendant Nassar was a competent, ethical,

       and safe physician.

480.   By representing that Defendant Nassar was a team physician and athletic physician at

       Defendant MSU and a National Team Physician with Defendant USAG, Defendant

       Twistars and Defendant Geddert represented to Plaintiffs and the public that Defendant

       Nassar was safe, trustworthy, of high moral and ethical repute, and that Plaintiffs and the

       public need not worry about being harmed by Defendant Nassar.




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481.   The representations were false when they were made as Defendant Nassar had and was

       continuing to sexually assault, abuse, and molest Plaintiffs and an unknown number of

       individuals, at times at Defendant Twistars’ facility.

482.   As early as 1998, Defendant Twistars and Defendant Geddert knew their representations

       of Defendant Nassar were false as Defendant Twistars and Defendant Geddert received a

       complaint of Defendant Nassar’s conduct.

483.   Between the time of the 1998 complaint and September 2016, Defendant Twistars and

       Defendant Geddert continued to hold Defendant Nassar out as a competent and safe

       physician.

484.   Plaintiffs relied on the assertions of Defendants Twistars and Defendant Geddert and

       several Plaintiffs continued to seek treatment of Defendant Nassar in the wake of known

       concerns and dangers.

485.   Plaintiffs were subjected to sexual assault, abuse, and molestation as a result of Defendant

       Twistars’ and Defendant Geddert’s fraudulent misrepresentations regarding Defendant

       Nassar.

486.   As a direct and/or proximate result of Defendants’ fraud and misrepresentation, Plaintiffs

       suffered and continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

                               IX. CLAIMS AGAINST NASSAR

       A. COUNT THIRTY-TWO



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                                 ASSAULT & BATTERY
                               ALL PLAINTIFFS AGAINST
                            DEFENDANT LAWRENCE NASSAR

487.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

488.   The acts committed by Defendant Nassar against Plaintiffs described herein constitute

       assault and battery, actionable under the laws of Michigan.

489.   Defendant Nassar committed nonconsensual sexual acts which resulted in harmful or

       offensive contact with the bodies of Plaintiffs.

490.   Specifically, Defendant Nassar committed acts which caused injury to Plaintiffs by

       subjecting them to an imminent battery and/or intentional invasions of their rights to be

       free from offensive and harmful contact, and said conduct demonstrated that Defendant

       had a present ability to subject Plaintiffs to an immediate, intentional, offensive and

       harmful touching.

491.   Defendant Nassar assaulted and battered Plaintiffs by nonconsensual and unwanted digital

       vaginal penetration, digital anal penetration, and touching some of Plaintiffs’ breasts

       without notice or explanation of the “treatment.”

492.   Plaintiffs did not consent to the contact, which caused injury, damage, loss, and/or harm.

493.   As a direct and/or proximate result of Defendant Nassar’s negligent failure to train or

       educate, Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full




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       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       B. COUNT THIRTY-THREE

            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
          ALL PLAINTIFFS AGAINST DEFENDANT LAWRENCE NASSAR

494.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

495.   Defendant Nassar used his authority and position with Defendants MSU and USAG to

       sexually assault, abuse, and molest Plaintiffs, and an unknown number of other individuals,

       minors, and young adults.

496.   Defendant Nassar in committing acts of sexual assault, abuse, and molestation as described

       above under the guise of medical “treatment” exhibited conduct that is extreme, outrageous

       and/or reckless in nature.

497.   A reasonable person would not expect their physician to sexually assault, abuse, or molest

       them, and to do so under the guise of medical “treatment” without proper notice or

       explanation, and without giving the patient the opportunity to refuse “treatment” of that

       nature.

498.   Defendant Nassar’s conduct was intentional or reckless as he repeatedly sexually assaulted,

       abused, and molested Plaintiffs over several years, from approximately 1996 to 2016.

499.   Defendant Nassar’s conduct has caused and continues to cause Plaintiffs to suffer

       emotional and psychological distress.

500.   As a direct and/or proximate result of Defendant Nassar’s negligent failure to train or

       educate, Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

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       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       C. COUNT THIRTY-FOUR

                                   INVASION OF PRIVACY

501.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

502.   Defendant Nassar intruded upon Plaintiffs’ seclusion or solitude by sexually assaulting,

       abusing, and molesting Plaintiffs without the consent of Plaintiffs or Plaintiffs’ parents.

503.   Plaintiffs’ genital area, breasts, and sexual activity are secret and private subject matters.

504.   Plaintiffs possessed a right to keep these subject matters private.

505.   Some of the Plaintiffs lost their virginity when Defendant Nassar sexually assaulted,

       abused, and molested them.

506.   Defendant Nassar’s method of sexually assaulting, abusing, and molesting Plaintiffs is

       objectionable to a reasonable person.

507.   As a or the direct and/or proximate result of Defendant Nassar’s outrageous conduct,

       Plaintiffs suffered discomfort and continue to suffer pain of mind and body, shock,

       emotional distress, physical manifestations of emotional distress, embarrassment, loss of

       self-esteem, disgrace, fright, grief, humiliation, and loss of enjoyment of life, were

       prevented and will continue to be prevented from performing daily activities and obtaining

       the full enjoyment of life, and have sustained and continue to sustain loss of earnings and

       earning capacity.



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         X. DAMAGES - FOR ALL AFOREMENTIONED CAUSES OF ACTION

508.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

509.   As a or the direct and/or proximate result of Defendants’ conduct, actions, or inactions,

       Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

       physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

510.   The conduct, actions and/or inactions of Defendants as alleged in the above stated counts

       and causes of action constitute violations of Plaintiffs’ Constitutional and Federal rights as

       well as the common and/or statutory laws of the State of Michigan, and the United States

       District Court has jurisdiction to hear and adjudicate said claims.

511.   In whole or in part, as a result of some or all of the above actions and/or inactions of

       Defendants, Plaintiffs have and continue to suffer irreparable harm as a result of the

       violations.

512.   The amount in controversy for each Plaintiff exceeds the jurisdictional minimum of

       $75,000.00.

WHEREFORE, Plaintiffs request this Court and the finder of fact to enter a Judgment in Plaintiffs’

       favor against all named Defendants on all counts and claims as indicated above in an

       amount consistent with the proofs of trial, and seeks against Defendants all appropriate

       damages arising out of law, equity, and fact for each or all of the above counts where

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      applicable and hereby requests that the trier of fact, be it judge or jury, award Plaintiffs all

      applicable damages, including but not limited to compensatory, special, exemplary and/or

      punitive damages, in whatever amount the Plaintiffs are entitled, and all other relief arising

      out of law, equity, and fact, also including but not limited to:

a)    Compensatory damages in an amount to be determined as fair and just under the

      circumstances, by the trier of fact including, but not limited to medical expenses, loss of

      earnings, mental anguish, anxiety, humiliation, and embarrassment, violation of Plaintiffs’

      Constitutional, Federal, and State rights, loss of social pleasure and enjoyment, and other

      damages to be proved;

b)    Punitive and/or exemplary damages in an amount to be determined as reasonable or just by

      the trier of fact;

c)    Reasonable attorney fees, interest, and costs; and,

d)    Other declaratory, equitable, and/or injunctive relief, including, but not limited to

      implementation of institutional reform and measures of accountability to ensure the safety

      and protection of young athletes and other individuals, as appears to be reasonable and just.

                                    Respectfully Submitted,

Dated: March 30, 2017                                /s/ David S. Mittleman__________________
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Dated: March 30, 2017                                /s/ Mick S. Grewal__________________
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                                       JURY DEMAND

       Plaintiffs, by and through their attorneys, ChurchWyble, PC, a division of Grewal Law,

PLLC, hereby demand a trial by jury on all claims set forth above.


Dated: March 30, 2017                               /s/ David S. Mittleman__________________
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Dated: March 30, 2017                                /s/ Mick S. Grewal__________________
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